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             IN THE UNITED STATES DISTRICT COURT FOR
                  T HE WE S T ERN D IS TRICT OF TEX AS
                       SAN ANTONIO DIVISION

H OL C O M B E , et. al,                         NO. 5:18 - C V -0 0 5 5 5 - X R
                                                   (consolidated cases)
Plaintiffs

vs.

UNITED STATES OF
A M E R I C A,

Defendant




       THIRD AMENDED TRIAL EXHIBIT LIST (LIABILITY PHASE)




      In accordance with the Joint Pretrial Order [Doc. 354], the Parties file their

Third Amended Trial Exhibit List (Liability Phase) to be considered by the Court in

reviewing the designated deposition trial testimony and for use by the Parties at the

in-person trial beginning April 7, 2021.




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      USA11697-11732; SSS-41-76
JEX   Inspector General Report, US Department of Defense, Eval of Department of Defense
                                                                                          X       X   3/12/21
 1    Compliance with Criminal History Data Reporting Requirements (2/12/2015)

      SSS-77-168; USA11221-11312
      Inspector General Report, US Department of Defense, Evaluation of Fingerprint
JEX
      Card and Final Disposition Report Submissions by Military Service Law               X       X   3/12/21
 2
      Enforcement Organizations (12/4/2017)

      USA5250-5387
      Inspector General Report, US Department of Defense, Report of Investigation into
JEX   the United States Air Force’s Failure to Submit Devin Kelley’s Criminal History
                                                                                          X       X   3/12/21
 3    Information to the FBI (12/6/2018) [redacted versions produced at SSS-169-306 &
      USA00005112-5249]

      USA34-417
      AFOSI Manual 71-121: Manual implementing Air Force Mission Directive (AFMD)
JEX
      39, AFOSI (AFOSI), and Air Force Policy Directive (AFPD), Criminal Investigations   X       X   3/12/21
 4
      and Counterintelligence, Jan. 13, 2009 – obsolete




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      USA418-719
      AFOSI Manual 71-121: Manual implementing Department of Defense Instruction
JEX
      (DoDI) 5505.14, Deoxyribonucleic Acid (DNA) Collection Requirements for Criminal   X       X   3/12/21
 5
      Investigations, Jan. 13, 2009 – obsolete

      USA1032-1342
JEX
      Department of the Air Force Memo for all AFOSI activities, 3/15/2012               X       X   3/12/21
 6
      USA1644-1805
JEX   Department of the Air Force Memo for Distribution C ALMAJCOM-FOA-DRU/CC -
                                                                                         X       X   3/12/21
 7    1/27/2014

      USA1806-1818
JEX   US Department of Defense Instruction re Fingerprint Card and Final Disposition
                                                                                         X       X   3/12/21
 8    Report Submission Rqmts, No. 5505.11 - 7/9/2010

      USA5399-5405
JEX
      Memo Re: Devin Patrick Kelley                                                      X       X   3/12/21
 9




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      USA5457-5612
      Air Force Instruction 31-205: Instruction implementing Air Force Policy Directive
      (AFPD) 31-2, Law Enforcement, DOD Directive 1325.4, Confinement of Military
JEX
      Prisoners and Administration of Military Correction Programs and Facilities, Aug.   X       X   3/12/21
 10
      17, 2001 and DOD Instruction 1325.7, Administration of Military Correctional
      Facilities and Clemency and Parole Authority, July 17, 2001

      USA5759-5827
JEX   Air Force Instruction 31-206, 9/16/2009 Security Forces Investigations Program;
                                                                                          X       X   3/12/21
 11   Superseding AFI 31-206, 8/1/2001

      USA7575-7647
JEX   Air Force Instruction 40-301, 11/16/2015 Family Advocacy Program, Incorporating
                                                                                          X       X   3/12/21
 12   Change 1, 10/12/2017

      USA10257-10373 [similar document at SSS-001209-001329]
JEX   Air Force Instruction 31-118, 3/5/2014 Security Forces Standards and Procedures;
                                                                                          X       X   3/12/21
 13   Superseding AF131-201, 3/30/2009 and AFMAN31-201V2, 8/28/2009

      USA11166-11220
JEX   Inspector General Report, Department of Defense, Evaluation of Department of
                                                                                          X       X   3/12/21
 14   Defense Compliance with Criminal History Date Reporting Rqmts (2/10/1997)



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      USA11733-12132
JEX   Air Force Instruction 51-201, 6/6/2013 Administration of Military Justice
                                                                                          X       X   3/12/21
 15   Superseding AFI 51-201 (12/21/2007)

      USA12136-12140
      Form 4473 for Devin Kelley: 4/2/2012; Purchase: SIG Sauer P250, 9mm Pistol Serial
JEX
      No.: ENK087537; Retailer: Holloman Exchange, Holloman AFB FFL No.: 5-85-035-        X       X   3/12/21
 16
      01-2M-01293

      USA12814-12817
      Excerpt from Department of Defense’s (DOD) Memo of Understanding with the
      Federal Bureau of Investigation’s (FBI) Criminal Justice Info Services re: the
JEX
      provision and use of prohibited person’s data to the NICS database w/ letter from   X       X   3/12/21
 17
      Under Secretary of Defense Jessica L. Wright to Attorney General Eric H. Holder,
      Jr.; May 24, 2013

      USA12908-12910; USA12133-12135
      Form 4473 for Devin Kelley 12/22/2012; Purchase: EAA Windicator Revolver 38 SPI
JEX
      Serial No.: 1687099; Retailer: Holloman Exchange, Holloman AFB FFL No.: 5-85-       X       X   3/12/21
 18
      035-01-2M-01293




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      USA12913-12914
JEX   Report log re Transition Reports; Transition type: Submit for Closure; Created and
                                                                                           X       X   3/12/21
 19   Modified by: Randall D. Taylor Date Created: 12/14/2012

      USA12947-12948
JEX
      REDACTED - Report of Result of Trial 11/7/2012 re Devin P. Kelley                    X       X   3/12/21
 20
      USA13315-13392
JEX
      File requesting Devin Kelley’s permanent expulsion from Holloman AFB                 X       X   3/12/21
 21
      USA13393-14181
JEX
      Full investigative file re: the assault of Devin Kelley’s stepson J.L.               X       X   3/12/21
 22
      USA14490-14571
      Request and Authorization for Separation with related documents; Subj: Devin P.
JEX
      Kelley; Type of Separation: Discharge Character of Service: Bad Conduct Eff. Date:   X       X   3/12/21
 23
      May 9, 2014

      USA14693-14798
JEX
      A1C Devin Kelley Personal Info File                                                  X       X   3/12/21
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      USA15086-15093
      Charge Sheet Accused: Devin P. Kelley; Charges: Violation UCMJ, Article 128
JEX   Specifically: Multiple assaults of Tessa Kelley and J. L.; Referral: Trial to the general
                                                                                                  X       X   3/12/21
 25   court-martial board convened by Special Order A-60: Aug. 27, 2012; Signed by:
      Jeffery J. Slagle, Staff Judge Advocate

      USA15148-15240
      Department of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Interview of Randall Taylor; Case No.: 2018C004;          X       X   3/12/21
 26
      June 12, 2018

      USA15525-15640
      Report of Investigation by: SA Glen Gibson File No.: 17HQCI-062; Period of Report:
JEX
      6Nov17–23Mar18; Date: 10Apr18; Matter Investigated: Facts and circumstances                 X       X   3/12/21
 27
      surrounding AFOSI failure to index Devin Kelley

      USA15641-15643
JEX   Summary review of Devin Kelley’s Defense Manpower Data Center (DMDC)
                                                                                                  X       X   3/12/21
 28   Installation Access Record, Project No.: 2018C004




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      USA15659-15705
      Audio Transcription of Interview of Vince Bustillo; Case No.: 2018C004; taken Jan.
JEX
      3, 2018; Department of Defense: OIG; Asst. Inspector General for Investigative       X       X   3/12/21
 29
      Policy and Oversight

      USA15753-15805
      Audio Transcription of Interview of Yonatan Holz; Case No.: 2018C004; taken June
JEX
      18, 2018; Department of Defense: OIG; Asst. Inspector General for Investigative      X       X   3/12/21
 30
      Policy and Oversight

      USA15873-15875
JEX   Interview Summary of SA Clinton Mills; Case No.: 2018C004; Date: July 1, 2018
                                                                                           X       X   3/12/21
 31   @5:00pm; Interviewed by: SA Rebecca Hyatt via Phone

      USA15915-15919
JEX   Interview Summary of SA Lyle Bankhead; Case No.: 2018C004; Date: June 13, 2018;
                                                                                           X       X   3/12/21
 32   Interviewed By: SA Rebecca Hyatt, SA Laura Aleman

      USA16043-16049
JEX   Interview Summary of Col James L. Hudson; Case No.: 2018C004; Date: Feb. 2018;
                                                                                           X       X   3/12/21
 33   Interviewed By: SA Joshua Hannan, Laura Hummitzsch




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      USA16518-16519
JEX   Interview Record: Kelley, Devin; Interviewer: Gregory Harper; Place of Interview:
                                                                                          X       X   3/12/21
 34   Det 225/Bldg #293 Name: Clinton Mills, Date: 6/8/2012

      USA16664-16682
JEX   Guidance to Agencies re: Submission of Relevant Federal Records to NCIS (March
                                                                                          X       X   3/12/21
 35   2013, USDOJ)

      USA16833
JEX
      Military Chart of Offenses                                                          X       X   3/12/21
 36
      USA16836
JEX
      Kelley DIBRS entry – Tessa Kelley’s SSN Redacted                                    X       X   3/12/21
 37
      USA19674
      Interview of Special Agent Clinton Mills, AFOSI Detachment 334, Pentagon,
JEX
      Conducted by Special Agent Laura Hunnich, OIG, DoD with Special Agent Josh          X       X   3/12/21
 38
      Hannon, OIG, DoD 1.10.2018




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      USA19675-19699
      Audio Transcription of Interview of Ryan Sablan; Case No.: 2018C004; taken
JEX
      Tuesday, Dec. 28, 2017; Department of Defense: OIG; Asst. Inspector General for   X       X   3/12/21
 39
      Investigative Policy and Oversight

      USA19700
JEX
      Video Interview of Clinton Mills (3/1/2018)                                       X       X   3/12/21
 40
      USA19708-19710
JEX
      Biography of Colonel James L. Hudson                                              X       X   3/12/21
 41
      USA19773-19780
JEX   Department of the Air Force Memo for SA (Msgt) Lyle I. Bankhead From: AFOSI/CC,
                                                                                        X       X   3/12/21
 42   Subj: Letter of Admonishment

      USA21723
JEX
      Video Confession of Devin P. Kelley                                               X       X   3/12/21
 43
      USA21788-21822
JEX
      Sworn Testimony of Lt. Col (Ret.) David Boyd 12/13/2017                           X       X   3/12/21
 44




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      SSS-000406-000410 / USA22319-22323
JEX   Questions for the Record for Secretary of the United States Air Force Heather
                                                                                           X       X   3/12/21
 45   Wilson, Dec. 13, 2017

      USA23478-23701
JEX   FBI investigative file of Sutherland Springs, Texas Church Shooting, Serial
                                                                                           X       X   3/12/21
 46   Attachments, pts 1&2 File No. 356E-SA-2228817

      USA25055-25167
JEX   HQ AFOSI/IG Unit Compliance Inspection; AFOSI Region 2, Langley AFB, VA;
                                                                                           X       X   3/12/21
 47   dates: 2/23/2010-3/18/2010

      USA25312-25368
JEX   AFOSI Instruction 71-107; Special Investigation; Processing Investigative Matters;
                                                                                           X       X   3/12/21
 48   12/9/1996

      USA25369-25378
JEX   AFOSI Regulation 124-102; AFOSI Reporting Criminal History Data to FBI;
                                                                                           X       X   3/12/21
 49   8/31/1987

      TAYLOR 3-4
JEX
      Facebook messages with “Jayson”                                                      X       X   3/12/21
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      TAYLOR 5-21
JEX
      Facebook messages with “Kyle”                                                        X       X   3/12/21
 51
      Work Paper on Interview of Lt. Col Robert Bearden, USAF Investigation re D. Kelley
JEX
      Project 2018C004 1.11.18                                                             X       X   3/12/21
 52

JEX   30(b)(6) Deposition Notice – Third
                                                                                           X       X   3/12/21
 53
JEX   30(b)(6) Deposition Notice – Second
                                                                                           X       X   3/12/21
 54
JEX   10 U.S. Code 892. Art. 92 198 Failure to obey order or regulation
                                                                                           X       X   3/12/21
 55
      Department of the Air Force Memo re Guidance to AFI 51-201 Administration of
JEX
      Military Justice                                                                     X       X   3/12/21
 56

JEX   Spencer Notice of Deposition
                                                                                           X       X   3/12/21
 57
JEX   Handwritten Notes – DIBRS Entry for Kelley
                                                                                           X       X   3/12/21
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      WILLIS00000001
JEX
      Photo of Kelley’s son’s bruise on leg                                             X       X   3/12/21
 59
      WILLIS00000002
JEX
      Photo of Kelley’s son’s bruise on leg                                             X       X   3/12/21
 60
      WILLIS00000003
JEX
      Text Messages between Danielle and Emily                                          X       X   3/12/21
 61
      WILLIS00000004
JEX
      Text Messages between Devin Kelley and Emily Willis                               X       X   3/12/21
 62
      MARLOW00000001-47
JEX
      New Braunfels Counseling Center Treatment Records of Devin Kelley                 X       X   3/12/21
 63
      USA00016911-16924
JEX
      Stipulation of Fact, United States v. A1C Devin P. Kelley                         X       X   3/12/21
 64
      SSS-001035
JEX
      Statement of Danielle Kelley                                                      X       X   3/12/21
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      Smith Dep 150-54
JEX
      Excerpt from Deposition of Danielle Kelley                                       X       X   3/12/21
 66
      Academy002307
JEX
      Academy Firearm Transaction Checklist                                            X       X   3/12/21
 67
      Academy003384-3543
JEX
      Academy Firearm Procedures Manual – Updated 3/24/2016                            X       X   3/12/21
 68
      Academy000736-798
JEX
      Academy Training Material                                                        X       X   3/12/21
 69
      Academy003011-16
JEX
      Academy Emails and Out of State Long Gun Sale Chart                              X       X   3/12/21
 70
      Academy003004-10
JEX
      Academy Emails re High-Capacity Magazines                                        X       X   3/12/21
 71
      Academy004656-57
JEX
      Academy Emails re Long guns – Neighboring States                                 X       X   3/12/21
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      Davis Dep. 105 &178
JEX
      Excerpts from Deposition of Perry Davis                                          X       X   3/12/21
 73

JEX   Academy Online – Magpul MOE PMAG 30-Round Magazine
                                                                                       X       X   3/12/21
 74
JEX   Kelley ATF 4473 Form from April 7, 2016
                                                                                       X       X   3/12/21
 75
JEX   Academy Online – Ruger AR-556 5.56 Semiautomatic Rifle “Hot Deal”
                                                                                       X       X   3/12/21
 76
      Academy Online – Ruger AR-556 Autoloading .223 Remington/5.56 NATO
JEX
      Semiautomatic Rifle                                                              X       X   3/12/21
 77

JEX   Inserting the Magazine – Removing the Magazine
                                                                                       X       X   3/12/21
 78
JEX   AR-556 Comparison Chart
                                                                                       X       X   3/12/21
 79
JEX   Kelley Cash Sale 10/18/2017
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JEX   Instruction Manual for Ruger AR-556
                                                                                         X       X   3/12/21
 81
      ATF Guidebook – Importation & Verification of Firearms, Ammunition, and
JEX
      Implements of War – Terminology & Nomenclature                                     X       X   3/12/21
 82

JEX   ATF Federal Firearms Regulations Reference Guide
                                                                                         X       X   3/12/21
 83
JEX   27 CFR § 53.61 - Imposition and rates of tax
                                                                                         X       X   3/12/21
 84
      Academy 002422
JEX
      Academy Firearm Compliance Policy                                                  X       X   3/12/21
 85
      USA1-USA15
JEX   US Dep’t of Defense Instruction re Fingerprint Card and Final Disposition Report
                                                                                         X       X   3/12/21
 86   Submission Rqmts, No. 5505.11 - 12/1/1998

      USA24845-25006
JEX
      DODIG-2020-064, Eval of DOD Law Enforcement                                        X
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      SSS-000001-000040
      Inspector General, US Dep’t of Defense, Eval of the Defense Criminal Investigative
JEX
      Organizations’ Defense Incident-Based Reporting System Reporting and Reporting       X
111
      Accuracy, Oct. 29, 2014

      USA11313-11384
JEX   Report No. DODIG-2017-054, 2/14/2017 re Eval Military Criminal Investigative
                                                                                           X
112   Organizations’ Adult Sexual Assault Investigations

      USA11388-11459
JEX   Report No. DoDIG-2015-094, 3/24/2015 re Eval of Military Criminal Investigative
                                                                                           X
113   Organizations’ Adult Sexual Assault Investigations

      USA11460-11495
JEX   Report No. DoDIG-2015-055, 12/22/2014 re Eval of Military Criminal Investigative
                                                                                           X
114   Organizations’ Child Death Investigations

      USA11496-11567
JEX   Report No. DoDIG-2014-105, 9/9/2014 re Eval of Military Criminal Investigative
                                                                                           X
115   Organizations’ Child Sexual Assault Investigations




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      USA11568-11671
JEX   Report No. DoDIG-2013-091, 7/9/2013 re Eval of the Military Criminal Investigative
                                                                                           X
116   Organizations Sexual Assault Investigations

      SSS-001346-001871
JEX
      Compendium of Open OIG Recommendations to the Dep’t of Defense (as of 3/31/18)       X
117
      SSS-001872-002289
JEX
      Compendium of Open OIG Recommendations to the Dep’t of Defense (as of 3/31/19)       X
118
      USA15146-15147
JEX   Interview Summary of Meeting with NAVCONBIRG Miramar Confinement
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119   Command – Project 2018C004

      USA21756-21758
JEX
      SA David Nicholas’ notes on interview with Robert Grabosky, Nov. 30, 2017            X
120
      USA16041-16042
      Interview Summary of Chief Master Sgt. (SMCgt) Kenneth W. Sallinger; Case No.:
JEX
      2018C004; Date: Feb. 8, 2018; Interviewed By: SA Sanfra Mercuri, Inv Jermanie        X
121
      Nichols




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      USA13171-13173
JEX   Transcript summary of the interview of SA (Ssgt) Yonatan Holz, AFOSI Detachment
                                                                                           X
122   552, Turkey, re Kelley; Interview taken by SA Engholm and SA Pfeifer, Nov. 9, 2017

      USA14957-14959
JEX   Interview of SA Yonatan Holz; Case Agent: Yonatan Holz; RE: Investigation re abuse
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123   into J.L., Tessa Kelley’s son

      USA19781
JEX   Dep’t of the Air Force Memo for SA (Sep.) Yonatan Holz from AFOSI/CC, Subj: Letter
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124   of Censure

      USA14926-14956
      Transcript summary of phone interview of SA Clinton Mills, DET 334, Pentagon,
JEX
      Washington DC re Kelley, Interview taken by SA Michael Minnick, HQ AFOSI/IGL,        X
125
      Quantico, VA, Nov. 7, 2017

      USA13301-13304
JEX   Transcript summary of the interview of Civ Randall Taylor, location redacted, re
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126   Kelley Interview taken by SA Gibson, Nov. 8, 2017




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      USA13305-13308
JEX   Transcript summary of the interview of Civ Randall Taylor, location redacted, re
                                                                                         X
127   Kelley Interview taken by SA Gibson, Nov. 8, 2017

      USA15876-15881
JEX
      Interview Summary of Randall Taylor, Case No.: 2018C004, Date: June 12, 2018       X
128
      USA19705
JEX
      Video Interview of Randall Taylor Timestamp 11/8/2017                              X
129
      USA19722-19731
JEX   Dep’t of the Air Force Memo for SA (Ret.) Randall Taylor from AFOSI/CC, Subj:
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130   Letter of Censure

      USA13174-13178
      Transcript summary of the interview of SA (MSgt) James Hoy, AFOSI Expeditionary
JEX
      Detachment 2413, Kandahar Afghanistan, re Kelley; Interview taken by SA            X
131
      Engholm and SA Pfeifer, Nov. 10, 2017




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      USA13179-13182
      Transcript summary of the interview of SA (MSgt) James Hoy, AFOSI Expeditionary
JEX
      Detachment 2413, Kandahar Afghanistan, re Kelley; Interview taken by SA            X
132
      Engholm and SA Pfeifer, Nov. 10, 2017

      USA15706-15752
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Interview of SA James Hoy; Case No.: 2018C004;   X
133
      taken Monday, June 11, 2018

      USA19673
JEX   Video of Interview re Criminal Investigation Indexing Fingerprint Failure, Subj:
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134   Devin P. Kelley

      USA15922-16007
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Alex Meusburger; Case No.: 2018C004; taken       X
135
      Thursday, Nov. 13, 2017

      USA19702
JEX
      Video Interview of Alex Meusburger Timestamp 11/13/2017                            X
136




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      USA16008-16038
      Collaborative Interview Summary Case No.: 2018C004; Interviewed: SA Clinton
      Mills, AS (Retired) Randall Taylor, SA Yonaton Holz, SA Lyle Bankhead, SA
      (retired) Vince Bustillo, SA (Retired) Gregory Harper, SA (retired) Jayson Huinker,
      TSgt (Reserve) Steven Boughton, SA (Seperated) Lenora D. Madison, SA Dwayne
      Harris, SA Alex Meusburger, SA Matthew Peak, SA James Williams, SA (Retired)
      Adam Arnold, SA Matthew Veltri, SA Ken Sallinger, Col James Hudson, SA
JEX
      Jacqueline Albright, SA Robert Grabosky, Col Humberto Morales, SA (Retired)           X
137
      Stephen Minger, SA (Retired) Shawn Cassidy, SA Pete Vandamme, SA Mike
      Hassan, SA (Retired) Jennifer Hill, SA (Retired) Kim Goehl, Capt Brett Johnson, Col
      Owen W. Tullos, Civ Phil Countryman SA Larry Runk SMSgt David Mahala Inv.
      Richard Schnell SA Michael White; Interviewed By: SA Michael Minnick, SA Gibson,
      SA David Nicholas, SA Jason Engholm, SA Ryan Pfeifer, SA Alicia Pitts, SA David
      Priest, SA Lyndsey Banks, Col Zoerlein

      USA19701
JEX
      Video Interview of James Hoy Timestamp 11/10/2017                                     X
138
      USA13266-13300
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Interview of Ronald D. Rupe; Case No.: 2018C004;    X
139
      taken Tuesday, Jan. 2, 2018



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      USA15808-15838
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Interview of Ronald D. Rupe; Case No.: 2018C004;   X
140
      taken Friday, Dec. 1, 2017

      USA19704
JEX
      Recorded Interview of Ronald Rupe Dec. 1, 2018                                       X
141
      USA13183-13211
JEX   Sworn testimony of DET Richard Schnell Taken: Jan. 2, 2018; W: Mr. Richard
                                                                                           X
142   Schnell IO: Col Thomas Riney IO2: Col Brian Bacarella IO3: Ms. Nguyen

      USA15839-15867
JEX   Sworn testimony of DET Richard Schnell Taken: Jan. 2, 2018; W: Mr. Richard
                                                                                           X
143   Schnell IO: Col Thomas Riney IO2: Col Brian Bacarella IO3: Ms. Nguyen

      USA16072-16125
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Schneider Rislin; Case No.: 2018C004; taken        X
144
      Tuesday Jan. 9, 2018




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      USA19703
JEX
      Recorded Telephonic Interview of Major Rislin Jan. 9, 2018                       X
145
      USA21825
JEX
      Interview Summary of TSgt. Ryan Ken Manibu Sablan, July 3, 2018                  X
146
      USA21826-21827
JEX
      Work Paper on Interview of TSgt. Ryan Sablan Case No.: 2018C004, Dec. 28, 2017   X
147
      USA21828
JEX   Recorded Interview of TSgt. Ryan Sablan by: SA Christopher Meldelton, DoDIG
                                                                                       X
148   office, SA Josh Hanna, DoDIG office Project 2018C004, Dec. 28, 2017

      USA21829
JEX   Recorded Interview of TSgt. Ryan Sablan by: SA Christopher Meldelton, DoDIG
                                                                                       X
149   office, SA Josh Hanna, DoDIG office Project 2018C004, Dec. 28, 2017

      USA21773
JEX
      Interview Summary of TSgt Willie Dukes July 26, 2018                             X
150
      USA21776-21787
JEX
      Sworn Testimony of TSgt Willie Dukes 1/4/2018                                    X
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      USA22526
JEX   Memo for Record From: AF/A4S, Subj: Verbal Counseling - TSgt Willie Dukes,
                                                                                           X
152   USAF, Retired 3/21/2019

      USA22528
      Memo for HQ USAF/A4S, From: Heather Wilson, Secretary of the Air Force, Subj:
      Referral of Matter Involving TSgt Willie Dukes (USAF, retired) and Major David
JEX
      Boyd (USAF, retired) to the Air Force Security Forces Directorate, Office of the     X
153
      Deputy Chief of Staff for Logistics, Engineering and Force Protection (AF/A4S)
      2/26/2019

      USA15868-15869
      Interview Thumbnail; Interviews: SA Lonnie Isaac, SA Jeff Goodson Interviewee: Col
JEX   Owen W. Tullos, Judge Advocate; Location of Interview: 14th Air Force
                                                                                           X
154   Headquarters, Suite B108, 747 Nebraska Ave, Vandenberg AFB, CA; Project No.:
      2018C004

      USA15870-15872
      Transcript summary of the interview of Civ Phillip D. Countryman re Kelley;
JEX
      Interview by SA Rebecca Hyatt and SA Lonnie Isaac, Dec. 21, 2017; Project:           X
155
      2018C004




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      USA15241-15246
JEX   Interview Summary of Danielle Shields Kelley; Case No.: 2018C004; May 15, 2018
                                                                                            X
156   @3:31pm; By SA Joshua Hannan, SA Rebecca Hyatt; present: Michael Kelley, Father

      USA16126-16280
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Danielle Kelley; Case No.: 2018C004; taken          X
157
      Tuesday, May 15, 2018; Validated by: Marticia Lynch on May 27, 2018

      USA21840-21844
JEX
      Interview Thumbnail of Tessa Brennaman Project No.: 2018C004, April 10, 2018          X
158
      USA21845
JEX   Recorded Interview of Tessa Brennaman Interviewed by: SA Sandra Mercury,
                                                                                            X
159   DoDIG office, SA Jeff Goodson, DoDIG office Project 2018C004, April 10, 2018

      USA21846-21869
      Dep’t of Defense: OIG, Asst. Inspector General for Investigative Policy and
JEX
      Oversight, Interview of Tracy A. Wolfe; Case No.: 2018C004; taken Tuesday, Dec. 19,   X
160
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      USA21870
JEX   Recorded Telephonic Interview of Tracy A. Wolf, Interviewed by: SA Chris Meldeton,
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161   DoDIG office, SA James Yingling, DoDIG office Project 2018C004, Dec. 19, 2017

      USA21830-21838
JEX
      Interview Protocol for Major Steven L. Spencer, II, Dec. 19, 2017                    X
162
      USA21839
      Recorded Video Telephonic Interview of Major Steven Spencer, Interviewed by: SA
JEX
      Sandra Mercury, DoDIG office, Investigator Jermaine Nichols, DoDIG office, Project   X
163
      2018C004, Dec. 19, 2017

      USA22528
      Memo for HQ USAF/A4S, From: Heather Wilson, Secretary of the Air Force, Subj:
      Referral of Matter Involving TSgt Willie Dukes (USAF, retired) and Major David
JEX
      Boyd (USAF, retired) to the Air Force Security Forces Directorate, Office of the     X
164
      Deputy Chief of Staff for Logistics, Engineering and Force Protection (AF/A4S)
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      USA22527
JEX
      Memo for Record from USAFA/CCLD, Subj: Letter of Censure Delivery 3/21/2018          X
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      USA23965
JEX   Memo for Lt. Col. David J. Boyd, USAF, Retired, from AF/A4S, Subj: Letter of
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166   Censure: March 28, 2019

      USA21759-21768
JEX   Interview Protocol for Jason Williams re Devin Kelley transfer of Info, Project No.:
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167   2018C004

      USA21769-21770
JEX
      SA David Nicholas’ notes on interview with Jason Huinker, Nov. 27, 2017                X
168
      USA21771-21772
JEX
      SA David Nicholas’ notes on interview with Lenora Denise Madison, Nov. 28, 2017        X
169
      USA21774-21775
JEX   Interview Thumbnail of Col (Ret) Dawn Dobson Hankins, Project No.: 2018C004 Jan.
                                                                                             X
170   10, 2018

      USA21823-21824
JEX
      Eval of Devin Patrick Kelley Investigation; Case No.: 2018C004                         X
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      USA13212-13265
      Dep’t of Defense: OIG, Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Interview of Thomas Smith; Case No.: 2018C004;    X
172
      taken Thursday, Jan. 11, 2018

      USA15367-15370
JEX   Interview of Mrs. Valerie Lynn Rowe, Devin Kelley’s former Reporting official at
                                                                                          X
173   Holloman AFB; Project No.: 2018C004

      USA15898-15914
      Sworn testimony of Senior Airman (Retired) Monica Bustos; Taken: Dec. 15, 2017 W:
JEX
      Mr. Richard Schnell IO: Col Thomas Riney IO2: Col Brian Bacarella IO3: Lan          X
174
      Nguyen

      USA16039-16040
JEX   Interview Summary of Col Humberto E. Morales, Jr.; Case No.: 2018C004; Date:
                                                                                          X
175   Feb. 7, 2018; Interviewed By: SA Rebecca Hyatt, SA Christopher Middleton

      USA16050-16052
      Interview Summary of Mr. Andrew Johnson; Contact: lyle.bankhead@us.af.mil; Case
JEX
      No.: 2018C004; Date: Feb. 13, 2018; Interviewed By: SA Jeff Goodson, SA Jim         X
176
      Yingling



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      USA16069-16071
JEX   Re-Interview Summary: Re-interviewed: Current and Former USAF AFOSI SA -
                                                                                            X
177   referred to as agents Interviewees: Rebeca S. Hyatt; Dates: July 18-20, 2018

      USA15084-15085
      “AFOSI’s Response to DoD OIG Project 2018C004 Data Call 5 - assault of Brianna
JEX
      Mulder; RE AFOSI Investigation: 225-C-128-G- 32329111651413; Related to:              X
178
      Activity No. 33039122722213; Complainant: Zachary Loge; Accused: Devin P. Kelley

      USA16362-16366
JEX
      Coordination with Texas Dep’t of Public Safety (DPS) Kelley Project 2018C004          X
179
      USA25052-25053
      Memo for DOD-IG From: SAF/IGX, 1140 Air Force Pentagon (5B919), Washington
JEX
      DC, 20330, Subj: DOD/IG Draft Report Evaluation of Dep’t of Defense Compliance        X
180
      with Criminal History Data Reporting, 9 Oct. 2014 (Project No. 2013C006), 11/3/2014

      USA26185-26189
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 29 Jan. 2016       X
181
      USA26190-26196
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 8 April 2016       X
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      USA26197-26201
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 4 Dec. 2015     X
183
      USA26202-26206
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 11 March 2016   X
184
      USA26207-26212
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 12 Aug. 2016    X
185
      USA26213-26217
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 12 Feb. 2016    X
186
      USA26218-26224
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 17 June 2016    X
187
      USA26225-26229
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 31 Jan. 2017    X
188
      USA26230-26235
JEX
      Directorate of Security Forces (A4S) B- Weekly Activity Rpt Ending 31 March 2017   X
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      USA26236-26237
JEX
      A4S Staff Meeting: Top Targets/Concerns (FP), 10 Nov. 2015                       X
190
      USA26238-26239
JEX
      A4S & AFSFC Staff Meeting: Top Targets/Concerns (FP), 15 March 2016              X
191
      USA26240
JEX
      Email: Fingerprint Data from Kirk Stabler, Colonel, USAF, Dec. 18, 2015          X
192
      USA26241-26273
JEX
      AFOSI Case Closure & Criminal Indexing PPT                                       X
193
      USA26274-26275
JEX
      HQ Reviewed Cases with Booking Activity Deficiencies (Jan 15 - Nov 15)           X
194
      USA26276
JEX
      Spreadsheet of Case (Crime) Types and Counts                                     X
195
      USA26277
JEX
      Spreadsheet of Deficiency Types and Counts                                       X
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      USA26278
JEX   Email: NCIC Entries from Kirk Stabler, Colonel, USAF, Dec. 16, 2015 following up
                                                                                         X
197   on email from Keith Givens, Brigadier General, USAF

      USA26279-26280
JEX   Email: NCIC Entries from Kirk Stabler, Colonel, USAF, Dec. 17, 2015 following up
                                                                                         X
198   on email from Keith Givens, Brigadier General, USAF

      USA26281
JEX   Email: Probably Cause Form Rollout from Catherine Fahling, Colonel, USAF, June
                                                                                         X
199   15, 2016

      USA26282
JEX
      Probable Cause Determination Form/AFOSI Form 115, 2016060                          X
200
      USA26283
JEX   Email: Guidance on Titling/Indexing, Criminal History Data/Fingerprint
                                                                                         X
201   Submissions & DNA Submissions from Col. Catherine Fahling, April 5, 2016

      USA26284-26285
JEX   Memo: Titling/Indexing, Criminal History Data/Fingerprint Submissions, and DNA
                                                                                         X
202   Submissions, 30 Dec. 2015



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      USA26286
JEX
      Probable Cause Determination Form/AFOSI Form 115, 2016060                          X
203
      USA26287-26288
JEX   Email: 115 Info to JAG Corps from John Angelo, SA, DAF, March 17, 2016, replying
                                                                                         X
204   to Joy Hewitt, Capt, USAF

      USA26289-26290
JEX   Email: Criminal History (Fingerprint) Data Cards & DNA Submissions from James
                                                                                         X
205   K Poorman, SA, USAF, Aug. 17, 2015

      USA26291-26292
JEX   Email: Fingerprint Submission Deficiencies - Deep Dive from Wilbur Thompson, SA,
                                                                                         X
206   USAF, Jan. 11, 2016

      USA26293-26294
JEX
      HQ Reviewed Cases with Booking Activity Deficiencies (Jan 15 - Nov 15)             X
207
      USA26175
JEX   Memo from Allen Jamerson at Air Force for DoD/IG; RE: DoDIG Draft Report Eval of
                                                                                         X
208   Dep’t of Defense Compliance with Criminal History Data Reporting, 10/23/2014




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      USA26176
JEX   Memo from Michael Lewis at Air Force for DoD/IG; RE: DoDIG Draft Report Eval of
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209   Dep’t of Defense Compliance with Criminal History Data Reporting, 10/29/2014

      USA26180-26181
JEX   Memo from Jeff Hurlbert at Air Force for DoD/IG; RE: DoDIG Draft Report Eval of
                                                                                          X
210   Dep’t of Defense Compliance with Criminal History Data Reporting, 10/9/2014

      USA16874-16901
      Letter to Inspector General From: Randolph R. Stone, Deputy Inspector General for
JEX   Policy and Oversight, Subj: Approval of Administrative Change to DoD Instruction
                                                                                          X
211   5505.11, “Fingerprint Card and Final Disposition Report Submission Rqmts”;
      Attachment: Dep’t of Defense Instruction No. 5505.11, July 9, 2010

      USA25041-25043
      “1. Criminal History Reporting - Policy/Systems/Forms 1997-2019
JEX
      2. Criminal History Reporting - Processes 1997-2019                                 X
212
      3. Security Forces CHR Process Improvement 2015-2019”

      USA24739-24748
JEX
      AFOSI Reg 124-102, Aug 87                                                           X
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      USA16512-16513
JEX
      BLANK AFOSI Closed Investigation File Checklist; AFOSI 71-121, 13 Jan. 2009      X
214
      USA1588-1643
      Air Force Instruction 13-201; Manual implementing AFPD 31-2, Air Provost
JEX
      Operations, and providing guidance on general Security Forces duties and law     X
215
      enforcement operations, 3/30/2009 – obsolete

      USA12345-12374
      AFOSI PPT presentation on Case Closure & Criminal Indexing; References: DoDI
JEX
      5505.14; DoDI 5505.11; DoDI 7730.47; AFI 71-101, Vol 1; AFOSIMAN 90-101;         X
216
      AFOSIMAN 71-121

      USA12377
JEX   Decision Guide for Taking Fingerprints and DNA from Subjects of AFOSI
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217   Investigations

      USA5878-6813
JEX
      Manual for Courts-Martial United States, 2016 Edition                            X
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      USA18169-18170
JEX   Report of Result of Trial Memo (RRT Memo) Preparation & Review Checklist;
                                                                                            X
219   Current as of Dec. 2, 2013

      USA19516-19540
JEX
      AFLOA/JAJM Summary Court-Martial Guide                                                X
220
      USA19588-19592
JEX
      Air Force Courts-Martial Distribution List Current as of Jan. 1, 2014                 X
221
      USA19593-19639
      General Court-Martial Checklist References: UCMJ, 10 U.S.C. § 801, et. seq.; MCM,
JEX
      2012 Edition, AFI 51-201, Administration of Military Justice, 2013; TJS-03, Uniform   X
222
      Rules of Practice before Air Force Courts-Martial

      USA6816-7203
JEX   Dep’t of the Navy, SECNAV Instruction 1640.9c re Dep’t of the Navy Corrections
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223   Manual, 1/3/2006




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      USA16649-16651
      Presidential Documents; Memo of Jan. 16, 2013 Subj: Improving Availability of
JEX
      Relevant Executive Branch Records to the National Instant Criminal Background        X
224
      Check System Federal Register: Vol. 78, No. 14

      USA16862-16864
      Letter to Attorney General Jefferson B. Sessions, U.S. DOJ From: William H. Booth,
JEX
      Director of Defense Human Resources Activity, RE: Guidance to Agencies re:           X
225
      Submission of Relevant Federal Records to NCIS, May 10, 2018

      USA16652-16653
      59Fr 9498-03, 1994 WL 57532 (F.R.), Notices, DOJ, Office of the Attorney General
JEX   (AG Order No. 1853-94), Title: Designation of the National Crime Info Center Under
                                                                                           X
226   the Brady Handgun Violence Prevention Act, Date: Monday, Feb. 28, 1994, Agency:
      DOJ

      USA7655-7707
JEX   AFOSI Handbook 71-105, titled “An Agent’s Guide to Conducting an Documenting
                                                                                           X
227   Investigations”, 3/9/2009, certificated current 4/11/2012




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      SSS-001153-001208
JEX   Air Force Instruction 31-115, 10 Nov 2014, Security, Security Forces Investigations
                                                                                            X
228   Program

      SSS-000307-000315
JEX
      Dep’t of Defense Directive Number 7730.47, Oct. 15, 1996                              X
229
      SSS-000316-000398
JEX
      Dep’t of Defense Manual Number 7730.47-M Volume 1, Dec. 7, 2010                       X
230
      SSS-000400-000401
JEX
      National Instant Criminal Background Check System Indices                             X
231
      SSS-000411-000412
JEX
      Misdemeanor Crimes of Domestic Violence                                               X
232
      USA1343-1395
      AFOSI Handbook 71-105; Manual providing guidance for current processing and
      Reporting of investigative matters received by AFOSI units utilizing the
JEX
      Investigative Info Mgmt System (CI2MS) and the AFOSI investigative process            X
233
      instructed at the USAF Special Investigations Academy (USAFSIA), 3/9/2009 -
      obsolete



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      USA1396-1587
      AFOSI Manual 71-118, Vol 4 Manual providing policy, guidance, and procedures
JEX   necessary to comply with laws and higher directives, ensure health and safety,
                                                                                               X
234   standardize investigative operations, and ensure investigative sufficiency for general
      investigative methods common to the AFOSI (AFOSI), 4/30/2009 – obsolete

      USA720-1031
JEX
      Dep’t of the Air Force Memo for all AFOSI activities, 9/6/2012                           X
235
      USA1819-1829
JEX
      Brady Handgun Violence Prevention Act, 1993                                              X
236
      USA1830-2295
JEX
      National Defense Authorization Act for Fiscal Year 2000                                  X
237
      USA2296-3173
JEX
      Consolidated Appropriations Act, 2018                                                    X
238
      USA3174-3197
JEX
      Gun Control Act, 1968                                                                    X
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      USA3198-3947
JEX
      Omnibus Consolidated Appropriations Act, 1997                                       X
240
      USA3948-3961
JEX
      NICS Improvement Amendments Act of 2007                                             X
241
      USA4031-4081
JEX   US Dep’t of Defense Instruction re Domestic Abuse Involving DoD Military and
                                                                                          X
242   Certain Affiliated Personnel, No. 6400.06 - 8/21/2007

      USA4082-4090
JEX   US Dep’t of Defense Directive re Defense Incident-Based Reporting System (DIBRS),
                                                                                          X
243   No. 7730.47 - 10/15/1996

      USA4091-4114
JEX   Memo of Understanding Between the DoD and the FBI on the provision of data to
                                                                                          X
244   the NICS - 3/3/1998

      USA4115-4128
JEX   Memo of Understanding Between the DoD and FBI re the provision and use of
                                                                                          X
245   “prohibited persons” data - 9/27/2007




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      USA4129-4193
      Air Force Instruction 31-120: Instruction implementing Air Force Policy directive
JEX   (AFPD) AFPD 31-1, Integrated Defense, providing guidance on general Security
                                                                                          X
246   Forces systems, law enforcement operations and the Security Forces Administration
      and Reports Branch (S5R) - 4/1/2015

      USA4194-4214
JEX
      IC-2 to AFOSIMAN 71-118, Vol 4, General Investigative Methods - 3/31/2011           X
247
      USA4215-4244
JEX
      IC-3 to AFOSIMAN 71-118, Vol 4, General Investigative Methods - 4/5/2012            X
248
      USA4245-4294
      CANCELLED by DoDI 6400.06, July 9, 2015: US Dep’t of Defense Instruction re
JEX
      Domestic Abuse Involving DoD Military and Certain Affiliated Personnel, No.         X
249
      6400.06 - 8/21/2007

      USA4295-4336
      Air Force Instruction 31-203: Instruction implementing AFPD 31-2, Air Provost
JEX
      Operations, providing guidance on general Security Forces duties and law            X
250
      enforcement operations




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      USA4337-4358
      Air Force Manual 31-201, Vol 7, Manual implementing Air Force Policy Directive
JEX
      (AFPD) 31-2, Air Provost Operations, providing guidance for the Security Forces        X
251
      Administration and Reports Branch (S5R)

      USA4359-4441
      US Dep’t of Defense Manual re Defense Incident-Based Reporting System (DIBRS):
JEX
      Data Segments and Elements, No. 7730.470M, Vol 1 - 12/7/2010, incorporating            X
252
      change 2, 6/29/2018

      USA4442-4541
JEX   US Dep’t of Defense Manual re Defense Incident-Based Reporting System (DIBRS):
                                                                                             X
253   Supporting Codes, No. 7730-47-M, Vol 2 - 12/7/2010, incorporating change 2, 4/6/2017

      USA4542-4909
JEX
      I2MS User Manual re Investigative Info Mgmt System, 8/28/2006                          X
254
      USA4910-4930
JEX
      The I2MS Fingerprinting Guide, version 4.6.5 – undated                                 X
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      USA4931-5013
JEX   Dep’t of Defense Manual re Defense Incident-Base Reporting System (DIBRS): Data
                                                                                          X
256   Segments and Elements, No. 7730.47-M, Vol 1 - 12/7/2010

      USA5014-5111
JEX   Dep’t of Defense Manual re Defense Incident-Based Reporting System (DIBRS):
                                                                                          X
257   Supporting Codes, No. 7730.47-M, Vol 2 - 12/7/2010

      USA5388-5396
JEX   Memo March 25, 1987: Subj: Criminal Investigations Policy Memo Number 10 -
                                                                                          X
258   Criminal History Data Reporting Rqmts

      USA5406
JEX   Federal Firearms Prohibition under 18 U.S.C. § 922(g)(4): Persons Adjudicated as
                                                                                          X
259   Mental Defective or Committed to a Mental Institution

      USA5407-5410
      Excerpt from DOD Memo of Understanding with the Federal Bureau of
JEX   Investigation’s (FBI) Criminal Justice Info Services re: the provision and use of
                                                                                          X
260   prohibited person’s data to the NICS database w/ letter from Under Secretary of
      Defense Jessica L. Wright to Attorney General Eric H. Holder, Jr. - May 24, 2013




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      USA5411-5424
JEX   Memo of Understanding between the DOD and the FBI re: the Provision and Use of
                                                                                               X
261   “Prohibited Persons” Data with Attachment 1

      USA5434
JEX   Memo for acting Inspector General of the DOD, Subj: Request for Investigation and
                                                                                               X
262   Review - 11/6/2017

      USA5435-5447
JEX   DOD Instruction No. 5505.11, re Fingerprint Card and Final Disposition Report
                                                                                               X
263   Submission Rqmts - 7/9/2010, incorporating change 1, 5/3/2011

      USA5617
      Memo: Secretaries Under Military Dep’ts Under Secretaries of Defense; Chairman
      Joint Chiefs of Staff Deputy Chief Mgmt Officer Asst. Secretaries of Defense; General
JEX
      Counsel of the Dep’t of Defense Directors of the Defense Agencies; Directors of the      X
264
      DOD Field Activities Subj: Investigation and Review re: the DOD’s submission of
      Info for inclusion in the FBI’s databases. (DODOIG Project No. 2018C004); 11/9/2017

      USA5697-5706
JEX   Dep’t of Defense Instruction No. 1304.25 re Fulfilling the Military Service Obligation
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265   - 10/31/2013



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      USA5707-5742
JEX   Air Force Instruction 36-2907, 11/26/2014: Unfavorable Info File (UIF) Program
                                                                                          X
266   Superseding AFI 36-2907, 6/17/2005

      USA5743-5746
JEX
      Air Force Policy Directive 51-1 re The Judge Advocate General’s Dep’t, 11/19/1993   X
267
      USA5828-5877
JEX   US Dep’t of Defense Instruction re Domestic Abuse Involving DoD Military and
                                                                                          X
268   Certain Affiliated Personnel, No. 6400.06 - 8/21/2007

      USA6814-6815
JEX
      The Commander’s Disciplinary Options                                                X
269
      USA6816-7203
JEX   Dep’t of the Navy, SECNAV Instruction 1640.9c re Dep’t of the Navy Corrections
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270   Manual, 1/3/2006

      USA10236-10237
JEX
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      USA10244-10249
JEX
      USLegal.com definition for Interstate Identification Index Law and Legal Definition   X
272
      USA10250-10254
JEX   Appx B. DoD Criminal Investigations Policy Memo Number 10, Criminal History
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273   Data Reporting Rqmts

      USA10374-11165
JEX
      Air Force Manual 37-139 re Records Disposition Schedule, 3/1/1996                     X
274
      USA11385-11387
      Table comparing DoDIG 2013-091, Eval of MCIO Sex Asslt Inv.; DoDIG 2014-105,
JEX   Eval of MCIO Child Sex Asslt Inv.; DoDIG 2015-055, Eval of MCIO Child Death;
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275   DoDIG 2015-094, Eval of MCIO Sex Asslt Inv.; DoDIG 2017-054, Eval of MCIO Sex
      Asslt Inv

      USA11681-11696
JEX   DoD Instruction No. 6490.04, 3/4/2013 Subj: Mental Health Evals of Members of the
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276   Military Services




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      USA12767-12796
      Memo for Secretary of the Army Secretary of the Navy Secretary of the Air Force;
JEX
      Subj: Criminal Investigations Policy Memo Number 10 - Criminal History Data          X
277
      Reporting Rqmts (3/25/1987)

      USA12818-12821
JEX   Title: Military; Levels of Discharge; Processing Military Charges; SOP No.: 5.4.8,
                                                                                           X
278   date last revised 12/18/14

      USA17727-17734
JEX   DoD Instruction No. 7730.47; Subj: Defense Incident-Based Reporting System
                                                                                           X
279   (DIBRS); Date: Jan. 23, 2014

      USA17735-17774
      Report No. DODIG-2015-011; Date: Oct. 29, 2014; Eval of the Defense Criminal
JEX
      Investigative Organizations’ Defense Incident-Based Reporting System Reporting       X
280
      and Reporting Accuracy

      USA18084
JEX
      Document Produced in Native Format Excel Sheet re OBJ: 77711AV9                      X
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      USA18085-18126
      Special Court-Martial Checklist References: UCMJ, 10 U.S.C. § 801, et. seq.; MCM,
JEX
      2012 Edition, AFI 51-201, Administration of Military Justice, DATE; TJS-03,           X
282
      Uniform Rules of Practice before Air Force Courts-Martial

      USA18127-18168
JEX   Special Court-Martial Checklist References: UCMJ, 10 U.S.C. § 801, et. seq.; MCM,
                                                                                            X
283   2016 Edition, AFI 51-201, Administration of Military Justice, 6 Jul 13 (AFGM2016-l)

      USA18169-18170
JEX   Report of Result of Trial Memo (RRT Memo) Preparation & Review Checklist;
                                                                                            X
284   Current as of Dec. 2, 2013

      USA18171-18216
JEX   Memo for Distribution C, MAJCOMS/FOAs/DRUs; From: HQ USAF/JA; Subj: Air
                                                                                            X
285   Force Guidance Memo to AFI-202, Nonjudicial Punishment; Date: Jan. 5, 2011

      USA18217-18262
JEX   Memo for Distribution C, MAJCOMS/FOAs/DRUs; From: HQ USAF/JA; Subj: Air
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286   Force Guidance Memo to AFI-202, Nonjudicial Punishment; Date: Jan. 5, 2011




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      USA18263-18528
      Memo for Distribution C, MAJCOMS/FOAs/DRUs; From: HQ USAF/JA; Subj: Air
JEX
      Force Guidance Memo to AFI 51-201, Administration of Military Justice Date: April      X
287
      4, 2011

      USA18529-18572
JEX   Air Force Instruction 51-202: Nov. 7, 2003; Incorporating through Change 2, May 16,
                                                                                             X
288   2007; Law Nonjudicial Punishment; Supersedes AFI 51-202, July 1, 2002

      USA18573-18615
JEX   Air Force Instruction 51-202: Nov. 7, 2003; Incorporating through Change 1, May 18,
                                                                                             X
289   2006; Law Nonjudicial Punishment; Supersedes AFI 51-202, July 1, 2002

      USA18616-18661
JEX   Air Force Instruction 51-202: Nov. 7, 2003; Incorporating through Change 3, Aug. 11,
                                                                                             X
290   2011; Law Nonjudicial Punishment, Supersedes AFI 51-202, July 1, 2002

      USA18662-18713
JEX
      Text of the Regulation; AFI 51-202, Law, Nonjudicial Punishment, Nov. 7, 2003          X
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      USA18714-19115
      Memo for Distribution C, MAJCOMS/FOAs/DRUs; From: HQ USAF/JA; Subj: Air
JEX
      Force Guidance Memo to AFI 51-201, Administration of Military Justice Date: Nov.   X
292
      25, 2013

      USA19116-19515
      Memo for Distribution C, MAJCOMS/FOAs/DRUs; From: HQ USAF/JA; Subj: Air
JEX
      Force Guidance Memo to AFI 51-201, Administration of Military Justice Date: June   X
293
      6, 2013; Supersedes AFI 51-201, Dec. 21, 2007

      USA19541-19565
      Summary Court-Martial Checklist References: UCMJ, 10 U.S.C. § 801, et. seq.;
JEX   MCM, 2012 Edition; AFI 51-201 Administration of Military Justice, 6 June 2013;
                                                                                         X
294   AFGM 2013-01, 25 Nov. 2013; AFM 51-203, Records of Trial, 2009 (incl ICl, Jun
      2013)

      USA19566-19587
JEX   Summary Court Martial Checklist References: UCMJ, 10 U.S.C. § 801, et. seq.;
                                                                                         X
295   MCM, 2012 Edition, AFM 51-203, Records of Trial, 2009 (incl C 1, Jun 2013)




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      USA19640-19641
JEX   Memo for Distribution C, MAJCOMS/FOAs/DRUs, From: HQ USAF/JA, Subj: Air
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296   Force Guidance Memo to AFI 51-201, Administration of Military Justice

      USA19642-19672
JEX
      PPT: Search & Seizure Under Military Law: MRE 311-317                                 X
297
      USA20635-20796
      Dep’t of the Air Force, Memo for Distribution C, ALMAJCOM-FOA-DRU/CC, From:
JEX
      AF/A4/7, Subj: Air Force Guidance Memo for AFI 31-205, Air Force Corrections          X
298
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      USA20797-20907
JEX
      Air Force Instruction 31-205; June 21, 1999; Security Corrections Program             X
299
      USA20908-20949
JEX   Air Force Instruction 31-207, Aug. 1, 1999; Security Arming and Use of Force by Air
                                                                                            X
300   Force Personnel

      USA16312-16318
JEX   Excerpts from Gun Control Act of 1968; Title 18, United States Code (U.S.C.),
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301   Sections 921 and 922; Title 27, Code of Federal Regulations (CFR) Part 478.11



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      USA16654-16656
      78 FR 4297, 2013 WL 212902 (Pres.) Memo, Subj: Improving Availability of Relevant
JEX
      Executive Branch Records to the National Instant Criminal Background Check          X
302
      System Date: Jan. 16, 2016

      USA16657-16663
JEX   Excerpts from Gun Control Act of 1968; Title 18, United States Code (U.S.C.),
                                                                                          X
303   Sections 921 and 922; Title 27, Code of Federal Regulations (CFR) Part 478.11

      USA16763
JEX
      The NCIS Indices Submission Process                                                 X
304
      USA19734-19735
JEX
      Performance Feedback Worksheet of DET 225 SMSgt Randall Taylor, Oct. 25, 2012       X
305
      USA22535-22542
JEX
      AFOSI Manual 90-101, Oct. 31, 2007 Special Mgmt, Operational Performance Mgmt       X
306
      USA19722-19731
      AFOSI Detachment 225 Holloman AFB, NM Investigation Plan, File No.: 225-C-120-
JEX
      A1-12345678912345, Subj: John Doe, Male Born 30 Apr 14; Ohio; E4: SSN: 123-45-      X
307
      6789; 49 Security Forces, SQ, Holloman AFB, New Mexico, Aug. 1, 2012



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      USA16865-16873
      Dep’t of Defense Human Resources Activity Defense Manpower Data Center; Memo
JEX   of Agmt between Defense Manpower Data Center (DMDC) and FBI for Defense
                                                                                         X
308   Personnel Records Info Retrieval System (DPRIS) Web Services Agmt Number:
      A1635 (Sept. 2016)

      USA23966-23976
JEX   ATF NICS Referral Application Field Office Referral Report for Keith Thomas
                                                                                         X
309   Kinnunen NTN: 1D0HXLZ

      USA23977-23987
JEX   ATF NICS Referral Application Field Office Referral Report for Keith Thomas
                                                                                         X
310   Kinnunen NTN: 0LB08PY

      USA24739-24748
JEX
      AFOSI Reg 124-102, Aug 87                                                          X
311
      USA25007-25035
JEX   Air Force Instruction 71-101; Vol 1, 4/8/2011, Special Investigations - Criminal
                                                                                         X
312   Investigation Program, Superseding AFI71-101V1, 12/1/1999




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      USA25036-25040
JEX   DOD Instruction No. 5505.07, re Titling and Indexing Subjs of Criminal
                                                                                          X
313   Investigations in the Dep’t of Defense - 1/27/2012

      USA25041-25043
      “1. Criminal History Reporting - Policy/Systems/Forms 1997-2019
JEX
      2. Criminal History Reporting - Processes 1997-2019                                 X
314
      3. Security Forces CHR Process Improvement 2015-2019”

      USA25044-25049
JEX   DOD Instruction No. 5505.07, re Titling and Indexing Subjs of Criminal
                                                                                          X
315   Investigations in the Dep’t of Defense - 1/7/2003

      USA25174-25311
JEX   Detachment Advisor Guide; Basic Special Investigator’s Course (BSIC), Class 1104;
                                                                                          X
316   01-20-04-02-11-01; 8/2/2011

      USA25379-25431
JEX   AFSC 71SX/7S0XX/GS1811 Special Investigations, Parts 1&2; Career Field
                                                                                          X
317   Education and Training Plan; July 2000




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      WILLIS00000005
JEX
      Text Messages between Devin Kelley and Emily Willis                              X
318
      USA19764-19765
JEX
      Biography of Colonel James L. Hudson                                             X
319
      USA19769-19770
JEX
      Resume of Lieutenant Colonel Robert C. Bearden                                   X
320
      TAYLOR 1-2
JEX
      Resume of Randall D. Taylor                                                      X
321
      USA10231-10235
JEX
      FBI website article: National Instant Criminal Background Check System (NICS)    X
322
      USA11672-11674
JEX
      FBI website article titled Next Generation Identification (NGI)                  X
323
      USA22530
JEX   Facebook Post shared from AETC Commander by United States Air Force re
                                                                                       X
324   Sutherland Springs Shooting




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      USA22531
JEX
      Twitter Post from U.S. Air Force re Sutherland Springs Shooting, 11/8/2017        X
325
      USA22532
JEX
      Twitter Post from U.S. Air Force re Sutherland Springs Shooting, 11/9/2017        X
326
      USA22533; SSS-000403
JEX
      Twitter Post from U.S. Air Force re internal review, 11/9/2017                    X
327
      USA22534
JEX
      Twitter Post from U.S. Air Force re failure to Report Kelley, 11/9/2017           X
328
      SSS-000399
JEX   U.S. Dep’t of Defense Press Operations, DoD launches review of Devin P. Kelley
                                                                                        X
329   criminal record notification, Release No. NR-382-17, Nov. 6, 2017

      SSS-000402
JEX   U.S. Air Force article, AF Implements Changes to Improve Law Enforcement
                                                                                        X
330   Database Reporting, Nov. 28, 2017




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      SSS-001333-001334
JEX   Air Force secretary: ‘We’ve taken responsibility’ for failing to enter Texas shooter’s
                                                                                               X
331   court-martial into civilian databases (Nov. 7, 2017)

      SSS-001335-001337
JEX   Air Force secretary says Texas shooter was a “serious problem” in the Air Force (Nov.
                                                                                               X
332   7, 2017)

      SSS-001338-001339
JEX   Air Force secretary tells Congress of concerns about Reporting criminal activity (Nov.
                                                                                               X
333   6, 2017)

      USA5448-5456
JEX
      Webpage printout of U.S. Air Force - Security Forces Careers                             X
334
      USA5613-5616
JEX
      Webpage printout of AFOSI home page                                                      X
335
      USA10227-10230
JEX   Military.com article titled Air Force Didn’t Alert FBI to Texas Church Shooter’s
                                                                                               X
336   Criminal Past




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      USA16281-16308
JEX   Navconbrig Miramar Prisoner Education Survey; Name: Devin Kelley; Brig No.:
                                                                                            X
337   K5484D65; Date of Confinement: June 6, 2012; Date of Release: April 6, 2016

      USA11678-11680
JEX   The Balance Careers website article titled About Air Force Security Forces, by Rod
                                                                                            X
338   Powers, updated 4/9/2018

      USA11672-11674
JEX
      FBI website article titled Next Generation Identification (NGI)                       X
339
      USA16310-16311
      April 26, 2012 Letter from: 49 LRS/CCF; To: 49SFS; Subj: Re Firearm AIC Devin P.
JEX
      Kelley, Text: 1. I am requesting to store the following Firearm in the Base Armory.   X
340
      SN: 1557099 (38 Special) German EAR 2

      USA16510-16511
      Army & Air Force Exchange Service Customer Order Form; Exchange Form 6200-9;
JEX
      Date: 6/7/2012, Item: DMNDBK 9mm 6RD BL FS Poly, CRC No.: DB9, Quantity: 1,           X
341
      Price: $374.04




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      USA12893-12895
      Form 4473 for Devin Kelley 12/22/2014; Purchase: Glock 19, 9mm Pistol Serial No.:
JEX
      XEG050; Retailer: K&L Marketing Group, Inc., Colorado Springs, CO; FFL No.: 5-       X
342
      84-041-01-5J-00170

      USA15371-15373
      Form 4473 for Devin Kelley 12/22/2014; Purchase: Ruger GP100, 357 mag revolver
JEX
      Serial No.: 177-59301; Retailer: K&L Marketing Group, Inc., Colorado Springs, CO;    X
343
      FFL No.: 5-84-041-01-5J-00170

      USA25054
JEX   Biography of Colonel Robert M. Ford, Jr. Chief of the Integrated Defense Policy
                                                                                           X
344   Division, Directorate of Security Forces Headquarters, Pentagon, DC (2018-present)

      USA16-33
JEX
      Form 4473 with Academy records of Devin Kelley’s in-store purchase on 4/7/2016       X
345
      USA12896-12898
JEX   Form 4473 for Devin Kelley 10/18/17; Purchase: Ruger SR22, 22 LR Serial No.: 366-
                                                                                           X
346   99791; Retailer: Academy Store 46, Selma, TX FFL No.: 5-74-01390




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      USA14960-14961
      Memo for Devin Kelley re No Contact Order for Tessa Kelley; From: 49 LRS/CC;
JEX
      Date of Receipt and Acknowledgment: 2/17/2012; Time: 1600hrs; Signed By: Frank         X
347
      Marconi, Lt. Col, USAF, Commander, 49th Logistics Readiness Squadron

      USA19707
JEX
      Produced in Original Format Notes re Kelley’s Assault of Child                         X
348
      USA22525
JEX
      Activity log on AFOSI Kelley investigation                                             X
349
      USA12915
JEX   Table of actions, and dates listing the following peoples: James F. Hoy, Alex D.
                                                                                             X
350   Meusburger Randall D. Taylor Lyle I. Bankhead

      USA18084
JEX
      Document Produced in Native Format Excel Sheet re OBJ: 77711AV9                        X
351
      USA16514-16515
JEX   Interview Record, Interviewee: Kelley, Devin; Principal Interviewer: Gregory Harper;
                                                                                             X
352   Place: Det 225/Bldg #293 Name: Clinton Mills; Date: 6/8/2012




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      USA16516-16517
      Interview Record, Interviewee: Kelley, Tessa Kaylynn, Principal Interviewer: SA
JEX
      James Hoy, Place: Det 225, Holloman AFB, Date: 6/9/-10/2011, File No.:                    X
353
      32329111651413

      USA22294
      Produced in Native Format, Spreadsheet of case logs, Names: Devin P. Kelley, Tessa
JEX
      K. Kelley, Case No.: 3232911651413, Full ID: 225-C-128-G-32329111651413,                  X
354
      Initiated date: 5/25/2011, Closing date: 12/14/2012

      USA16053-16068
      Spreadsheet printout of case logs; Names: Devin P. Kelley, Tessa K. Kelley; Case
JEX
      No.: 3232911651413; Full ID: 225-C-128-G-32329111651413; Initiated date:                  X
355
      5/25/2011; Closing date: 12/14/2012

      USA12953-12958
      FD-249 (Rev. 5-11-99) for Devin P. Kelley Fingerprints taken by Yonatan Holz, Date
JEX
      of Offense: 6/9/11 Date of Arrest: 6/8/11; Offense: Assault of a Child under the Age of   X
356
      16 R-84 (Rev. 08-31-1999)

      USA21724-21755
JEX
      Journal kept by Devin Kelley during stay at Peak Behavioral                               X
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      USA21118-21658
JEX
      Devin Kelley’s Medical Records from Peak Behavioral Health Services               X
358
      PEAK 1-541
JEX   Medical file of Devin P. Kelley from Peak Behavioral Health Services d/b/a Peak
                                                                                        X
359   Psychiatric Hospital

      PEAK 543-818
JEX
      Devin Kelley records vol. 1 - 275 pgs                                             X
360
      PEAK 820-1087
JEX
      Devin Kelley records vol. 1 - 266 pgs                                             X
361
      PEAK 1089-1361
JEX
      Devin Kelley records vol. 2 - 272 pgs                                             X
362
      USA21871-22293
JEX
      Devin Kelley’s medical records for 49th Mental Health Clinic                      X
363
      USA21659-21722
JEX
      49 MDOS Family Advocacy Record re Devin Kelley, Aug. 24, 2012                     X
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      USA22326-22524
JEX
      Family Advocacy Program File re Devin Kelley                                           X
365
      USA14799-14863
      Investigation Officers of Charges under Article 32, UCMJ and R.C.M 405, Manual
JEX   for Courts-Martial; Accused: Devin Kelley; Organization: 49th LRS, Holloman, AFB,
                                                                                             X
366   NM; Date of Charges: July 26, 2012; Includes case synopsis, charge sheet, and
      exhibits

      USA14962-15083
      Pretrial Allied Papers re Devin Kelley including Character of service letters;
      Personal data sheets; Transcripts; Stmts of suspect/witness/complainant; Memos;
JEX   Confinement orders; Evidence of abuse of Tessa Kelley; Evidence of Kelley
                                                                                             X
367   researching weapons, body armor, transport to San Antonio, and lodge while
      confined at Peak; Medical records for J. L., Tessa Kelley’s son Stmts of
      understanding

      USA12850-12854
      US v. AIC Devin P. Kelley: Offer for Pretrial Agmt (11/3/2012), agreed on 11/5/2012;
JEX
      US v. AIC Devin P. Kelley, Appx A to Offer for Pretrial Agmt dated 11/3/2012, agreed   X
368
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      USA12822-12823
JEX
      UNREDACTED - Report of Result of Trial (11/7/2012) re Devin P. Kelley                X
369
      USA12877-12882; USA12950-12951 [duplicates redacted at SSS-001029-
      001034; USA12941-12946]
JEX   UNREDACTED - Dep’t of the Air Force, General Court Martial Order No. 53,
                                                                                           X
370   4/10/2014 re Devin P. Kelley; DNA Processing required re Crime of Domestic
      Violence, General Court Martial Order No. 10, 1/14/2014 re Devin P. Kelley

      USA12949
JEX   Action of Convening Authority re Devin P. Kelley, 1/14/2013; Signed by Robin Rand,
                                                                                           X
371   Lieutenant General USAF, Commander

      USA14182-14489
JEX
      Proceedings of A Special Court Martial; Date: Nov. 6, 2012 Subj: Devin P. Kelley     X
372
      USA12952
JEX   ACM 38267, 12/3/2013 re Sentencing of Devin P. Kelley; approved by Deputy Clerk of
                                                                                           X
373   the Court, Leah M. Calahan

      USA16902-17725 [16911-16924 is JEX 64]
JEX
      Devin P. Kelley Court Martial Charge Sheet with Supporting Documentation             X
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      USA16367-16392
JEX   Filings re: USCA Dkt. No.: 14-0387/AF; Crim. App. No.: 38267; US v. Devin Kelley;
                                                                                          X
375   In the US Court of Appeals for the Armed Forces, Washington, D.C.

      DSMITH 15
JEX
      Devin Kelley’s TX Driver’s License                                                  X
376
      DSMITH 16
JEX
      Devin Kelley’s TX Driver’s License                                                  X
377
      SSS-001036-001047
JEX
      Devin Kelley Autopsy Report                                                         X
378
      SSS-000413-001022
JEX
      Devin Kelley Trial Transcript                                                       X
379
      SSS-002807-002809
JEX
      Devin Kelley Driving Abstract                                                       X
380
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      PEAK 819
JEX
      Cover page 01 65 67, Kelley, Devin                                                  X
382
      PEAK 1088
JEX
      Cover page, Vol. II/II 01 65 67, Kelley, Devin                                      X
383
      USA15523
      Peak Behavioral Health Service d/b/a Peak Psychiatric Hospital Admission form for
JEX   Devin P. Kelley, Lists Michael Kelley as FATHER Lists Tessa Kelley as MOTHER
                                                                                          X
384   Admitted: 2/23/2012 Discharged: 3/8/2012, Patient Account No.: 4000409, Medical
      record No.: 000016338

      MARLOW 48-49
JEX
      Business records declaration from Candace Marlow, LPC                               X
385
      DSMITH 1-14
JEX
      Danielle L. Smith’s Objections and/or Responses to Defendant’s SDT                  X
386
      USA7572-7573
JEX   Mapquest directions from Candlewood Suites San Antonio Lackland Air Force base
                                                                                          X
387   area to 2825 FM 2722 8/10/2018




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      USA7574
JEX   ACM 38267, 12/3/2013 re Sentencing of Devin P. Kelley; approved by Deputy Clerk of
                                                                                           X
388   the Court, Leah M. Calahan

      USA7648-7649
JEX   FAQ about the Family Advocacy Program Data Collection System and Central
                                                                                           X
389   Registry

      USA7650-7654
JEX
      WebMD printout titled “What is the Global Assessment Functioning (GAF) Scale?”       X
390
      USA7708-10226
      Law Enforcement Log of Military Personnel Marriages for the 2014 calendar year;
JEX
      Devin P. Kelley, 23, married Danielle L. Shields, 19, on 04/04/204 in 091 Comal;     X
391
      BATES No. 8884

      USA12141-12148
JEX   Memo of Agmt between Peak Behavioral Health Services and 49th Medical Group
                                                                                           X
392   (49 MDG)




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      USA12149-12157
JEX   Memo of Understanding between 49th Medical Group and Peak Behavioral Health
                                                                                            X
393   Services

      USA12158-12163
JEX   Incident/Investigation Report No. 12-159347, 6/4/2012 re Kelley’s escape from Peak
                                                                                            X
394   Behavioral Health Services

      USA12164-12166
      Devin Kelley’s Fingerprint Collection Log and Juvenile Criminal Record; Original
JEX
      fingerprint collection: 12/06/2006 Fingerprints collected 7/30/2015, no photo image   X
395
      transmitted; Fingerprints collected 6/5/2017, no photo image transmitted

      USA12844-12847
JEX   Student training Report for Devin P. Kelley for Network Intelligence Analysis
                                                                                            X
396   Apprentice course with instructor Notes

      USA12848-12849
JEX   “Military Protective Order for Tessa Kelley from Devin Kelley Commanding officer
                                                                                            X
397   signed: 6/25/2012 Kelley signed: 6/26/2012”




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      USA12850-12854
      US v. AIC Devin P. Kelley: Offer for Pretrial Agmt (11/3/2012), agreed on 11/5/2012;
JEX
      US v. AIC Devin P. Kelley, Appx A to Offer for Pretrial Agmt dated 11/3/2012, agreed   X
398
      on 11/5/2012

      USA12857-12876
      Comal County Sheriff’s Office Investigative file re Devin Kelley’s sexual assault of
JEX
      unknown female. Incident date: 6/15/2013 Report date: 6/17/2013 Case No.: 13-06-       X
399
      3030; Officer: Richard P. Manning

      USA12883-12892
JEX
      The State of Colorado v. Devin P Kelley re animal abuse towards his husky, Dakota      X
400
      USA12911-12912
JEX   JCAVS Person Summary for Devin P. Kelley, Listed as “Active Duty - Enlisted
                                                                                             X
401   (USAF)”

JEX   The Peak Psychiatric Hospital Progress Note DOS 6/4/12
                                                                                             X
402
      Dept of AF Memo re Request for Expulsion & Order not to Reenter Holloman
JEX
      Airforce Base for Kelley                                                               X
403



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JEX   Special Court Martial Checklist
                                                                                           X
404
JEX   Report of Result of Trial Memo
                                                                                           X
405
      USA12916-12921
JEX   Case Openings Detail sheet date range between 1/1/2011-2/28/2013; Valid as of
                                                                                           X
406   2/4/2018

      USA12937-12940
      Email From: Gary E. Davis (CJIS)(FBI) To: Laura A. Aleman, OIG DoD Cc: Travis L.
JEX
      Olson (CJIS)(FBI); Subj: [Non-DoD Source] RE: Follow-up Question; 3/6/2018;          X
407
      Overview: Question re no contact order qualifying for NCIC entry

      USA13309-13310
      Email from Sandra Durling, mother of Tessa Kelley [Loge] to Msgt Michael A.
JEX
      Jordan; Tsgt Jason P. Williams, and Msgt Tracy A. Wofle Subj: Airman Devin Kelley;   X
408
      Friday, April 27, 2012 @ 6:27AM

      USA14572-14680
JEX   Complete, unredacted copy of Devin Kelley’s SF-86 file, including all supporting
                                                                                           X
409   documents, Subj and witness interview summaries and notes



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      USA14681-14692
JEX   Incident Report re Devin Kelley, Agency: New Braunfels Police Dep’t, Incident No.:
                                                                                                X
410   1000000464, Offense: Indecency with a Child Sexual Contact: 1/3/2010

      USA14864-14920
      Photos of Tessa Kelley’s son, J. L.; Photo of Devin Kelley’s video confession re J. L.;
JEX
      Various Incidents Reports w. acknowledgments by Kelley; Enlisted Performance              X
411
      Reports

      USA15094-15145
      Naval Consolidated Brig Miramar Pre & Post Trial Prisoner Record Checklist w.
JEX
      Records Name: Devin P. Kelley; Brig Number: K5484D65; Rank: E-1; Dep’t Military           X
412
      Service: USAF; Dec. 18, 2012

      USA15247-15270
      Comal County Sheriff’s Office: Criminal Offense Report; Report No.: 13-06-3030 Date
JEX
      Reported: 6/17/2013 Date of Incident: 6/15/2013 Offense Code: 11990001 Victim:            X
413
      REDACTED; Witness: Tessa K. Brennaman; Suspect: Devin P. Kelley

      USA15271-15280
JEX   Various records from Comal County Sheriff’s Office re incidents related to Devin
                                                                                                X
414   Kelley and Michael Kelley



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      USA15281-15362
JEX   Devin Kelley’s Air Force application and enlistment paperwork starting with USAF’s
                                                                                           X
415   Request and Authorization for Separation under Bad Conduct Discharge

      USA15363-15366
JEX   El Paso County Sheriff’s Office Summary; Case No.: 2014-00010133; ORI No.:
                                                                                           X
416   Co21000; Description: Cruelty to Animals; Date: 8/1/2014 Suspect: Devin P. Kelley

      USA15374-15522
      MEMO from E.A. Foster, Chief, Info Mgmt, DoD Consolidated Adjudications Facility
JEX   to the Inspector General, DOD, ATTN: Supervisory SA Shawn C. Simonton; RE:
                                                                                           X
417   Records re Devin Kelley maintained at the DoD Consolidated Adjudications Facility
      (CAF)

      USA15524
      Affidavit for Search and Seizure, issued by Holloman AFB, New Mexico, Affidavit
JEX   Sworn By: Randall D. Taylor, Special Agent, United States AFOSI, re: Devin P.
                                                                                           X
418   Kelley; Violation: Article 86, UCMJ: Aggravated Assault, violation of Article 128;
      Communicating a Threat, violation of Article 134, UCMJ




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      USA15644-15658
JEX   Printout log of USAF Record Mgmt notes re Devin Kelley’s case re abuse against
                                                                                               X
419   Tessa Kelley, and stepson J.L.

      USA16309
      Certificate of Release or Discharge from Active Duty; Name: Devin P. Kelley; Dep’t:
JEX
      Air Force - REGAF; Station where Separated: JBSA Lackland AFB; Date: May 8,              X
420
      2014

      USA16393-16509
JEX   Certificate of Release or Discharge from Active Duty re Devin P. Kelley as cover
                                                                                               X
421   letter re: Request for Inmate Transfer with supporting documentation

      USA16520-16521
JEX   Devin Patrick Kelley, access, transaction, status, and credential history, Timeline of
                                                                                               X
422   Credential/Status Events

      USA12797-12808
JEX   U.S. DoJ, ATF Report of Investigation No. 782060-18-0016 re Mass Shooting-First
                                                                                               X
423   Baptist Church, Sutherland Springs, Texas




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      USA12809-12813
JEX   U.S. DoJ, ATF Firearms Trace Summary, printed 11/5/2017 re firearms used by
                                                                                          X
424   Kelley in shooting

      USA22625-22714
JEX   DOJ FBI investigative file of Sutherland Springs, Texas Church Shooting, File No.
                                                                                          X
425   356E-SA-2228817

      USA22715-22906
JEX   Add’l pages from FBI investigative file of Sutherland Springs, Texas Church
                                                                                          X
426   Shooting File No. 356E-SA-2228817

      USA22907-23215
JEX
      Unclassified FBI forms detailing investigation of Kelley’s history and bkgd         X
427
      USA23216-23226
JEX
      Evidence collection forms re D. Kelley                                              X
428
      USA23227-23400
JEX
      Financial records re D. Kelley                                                      X
429




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      USA23401-23477
JEX   FBI investigative file of Sutherland Springs, Texas Church Shooting, 1A Leads
                                                                                        X
430   Summary, File No. 356E-SA-2228817

      USA23702-23964
JEX   Add’l pages from FBI investigative file of Sutherland Springs, Texas Church
                                                                                        X
431   Shooting File No. 356E-SA-2228817

      USA24697-24734
JEX
      Draft Kelley Air Force IG Inquiry 20 May 20 (redacted)                            X
432
      USA24749-24754
JEX   National Criminal Information Center Indexing Task Force Final Report (December
                                                                                        X
433   2017 - January 2020)

      USA12797-12808
JEX   U.S. DoJ, ATF Report of Investigation No. 782060-18-0016 re Mass Shooting-First
                                                                                        X
434   Baptist Church, Sutherland Springs, Texas

      USA12809-12813
JEX   U.S. DoJ, ATF Firearms Trace Summary, printed 11/5/2017 re firearms used by
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435   Kelley in shooting



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      USA12824-12826
      NNSV Query Result: Devin Kelley’s Fingerprint Collection Log and Juvenile
      Criminal Record via US Customs and Board Protection: US Dep’t of Homeland
JEX
      Security, Original fingerprint collection: 12/06/2006 Fingerprints collected 7/30/2015,   X
436
      no photo image transmitted; Fingerprints collected 6/5/2017, no photo image
      transmitted

      USA12827-12832
JEX   SDT from the US DoD Inspector General to New Braunfels Police Dep’t requesting
                                                                                                X
437   any and all records associated with Devin P. Kelley, 11/20/2017

      USA12833-12839
      SDT from the US DoD Inspector General to Peak Behavioral Health Services
JEX
      requesting any and all records re: counseling and treatment associated with Devin P.      X
438
      Kelley 11/20/2017

      USA12840-12843
      Transmission from HQWATCH, dated 11/6/2017, Devin Kelley’s Fingerprint
JEX   Collection Log and Juvenile Criminal Record, Original fingerprint collection:
                                                                                                X
439   12/06/2006 Fingerprints collected 7/30/2015, no photo image transmitted;
      Fingerprints collected 6/5/2017, no photo image transmitted




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      USA12855-12856
      Email: From: Lonnie R. Issac, OIG DoD to Jermaine Nichols, OIG DoD, CC: Jeff A.
JEX   Bennett, OIG DoD, Shawn Simonton, OIG DoD; Subj: [Non-DoD Source] RE: Info For
                                                                                             X
440   Devin Kelley Report; Dated: Friday, 8/10/2018; Overview: Devin Kelley Report
      release, redaction

      SHIELDS 1-9
JEX
      Wilson County Sheriff’s Office Offense/Incident Report, 09/22/20                       X
441
      SHIELDS 10-53
JEX
      Cellebrite Extraction Report                                                           X
442
      SHIELDS 54-55
JEX   Wilson County Sheriff’s Office Incident Report, Case No.: 20090263, Victim: Michelle
                                                                                             X
443   Brassfield Nature: Child Custody Date: 1/14/2009

      SHIELDS 56-58
JEX   Wilson County Sheriff’s Office Incident Report, Case No.: 20065272, Victim: Michelle
                                                                                             X
444   Brassfield Nature: Child Custody Violation Date: 12/15/2006




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      SHIELDS 59-60
JEX   Wilson County Sheriff’s Office Incident Report, Case No.: 20100213, Victim: Michelle
                                                                                             X
445   Brassfield, Nature: Civil Matter - harassment by Donald Brassfield, Date: 1/13/2010

      SHIELDS 61-63
JEX
      Cellebrite Extraction Report of texts between Michelle Shields and Devin Kelley        X
446
      SHIELDS 64
JEX
      Cellebrite Extraction Report of texts between Michelle Shields and Devin Kelley        X
447
      SHIELDS 65-67
      Wilson County Sheriff’s Office Incident Report, Case No.: 20090246, Victim: Michelle
JEX
      Brassfield, Nature: Runaway - Danielle ran away to Donald’s house after argument       X
448
      with Michelle Date: 1/13/2009

      SHIELDS 68-70
JEX   Wilson County Sheriff’s Office Incident Report Case No.: 20070310, Victim: Michelle
                                                                                             X
449   Brassfield, Nature: Warrant Service/Civil Standby Date: 1/20/2007

JEX   Face Copy of CD - Texas Rangers Interview video 11/5/17
                                                                                             X
450




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JEX   Face Copy CD - Cibolo detectives interview video 11.1.17
                                                                                          X
451
JEX   Audio Transcription, Interview of Danielle Kelley, 05/15/18
                                                                                          X
452
      USA19711
JEX   Recorded Telephonic Interview of Lt. Col. Robert Bearden, Interviewed by: SA
                                                                                          X
453   Sandra Mercury, SA Rebecca Hyatt, Project 2018C004 Jan. 11, 2018

      USA14921
      Fact Sheet RE: Transfer of Devin Kelley’s DNA without fingerprints to U.S. Army
JEX
      Criminal Investigation Laboratory; Collect Kelley’s Data: Yonathon Holz; Prepared   X
454
      by: SA Joshua Hannan; Reviewed by: Supervisor SSA Shawn C. Simonton

      USA15806-15807
JEX
      Interview Protocol, form Project No.: 2018C004 Interview of Sablan                  X
455
      USA15882-15885
      Email: From Brian J. Barcarella, MIL USAF SAF-IG (US); To: Shawn Simonton,
JEX
      OIG DoD Subj: Quick Question [Kelley] 7/9/2018; Subj: FOUO\\ DoD IG RFI –           X
456
      Holloman Confinement Facility Closure Date [Kelley]; Add’l Date: 7/6/2018




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       USA15886-15897
       Sworn testimony of Technical Sgt. (Retired) Willie Dukes; Taken: Jan. 4, 2018 W:
JEX
       Mr. Willie Dukes IO: Col Thomas Riney IO2: Col Brian Bacarella; Case: Devin Kelley   X
457
       IG Inquiry

       USA15920-15921
       Table of Special Agents and Experience levels; Highlighted Fields; Special Agent:
JEX
       Special Agent: Holz; USAFSIA: 15-May-10; End Date: 12-DEC-12; Experience level       X
458
       days: 942 Experience level years: 2.58 Average of significant people: 6.57

       USA17726
JEX
       Sound File; RE: Devin P. Kelley; Given By: Col. Tullos                               X
459
JEX    USA17726
459-   Transcript of Sound File; RE: Devin P. Kelley; Given By: Col. Tullos                 X
 A
       USA19706
JEX
       Case Openings Detail as of Feb. 4, 2018, DET 225                                     X
460
       USA19766-19768
JEX    Work Paper on Interview of Lt Col Robert Bearden, USAF, Investigation of Devin
                                                                                            X
461    Kelley Project 2018C004



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      USA20961-21053
      Dep’t of Defense: OIG; Asst. Inspector General for Investigative Policy and
JEX
      Oversight; Audio Transcription of Lyle Bankhead; Case No.: 2018C004; taken            X
462
      Tuesday, Oct. 5, 2018; Validated by: SA Joshua Hannan, Oct. 5, 2018

      USA21054
JEX   Recorded Telephonic Interview of Lt. Col. Robert Bearden, Interviewed by: SA
                                                                                            X
463   Sandra Mercury, SA Rebecca Hyatt, Project 2018C004; Jan. 11, 2018

      USA21055
JEX   Recorded Interview of SA Joshua Hannan Interviewed by Lanny Isaac, Project
                                                                                            X
464   2018C004; Jan. 3, 2018

      USA21056
JEX   Eval of Devin Patrick Kelley Investigation, Interview of Vince Bustillo IPO Project
                                                                                            X
465   No. 2018C004; Jan. 3, 2018

      USA21057-21059
JEX
      Interview Summary-Mr. Andrew Johnson Project 2018C004                                 X
466




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      USA21060
JEX   Recorded Telephonic Interview of Col. Frank Marconi, Interviewed by: SA Sandra
                                                                                          X
467   Mercury, SA Rebecca Hyatt, Project 2018C004; Jan. 30, 2018

      USA21061-21062
JEX
      Interview Summary - Sallinger Project 2018C004                                      X
468
      USA21115-21117
JEX   Work Paper on Interview of Col Frank Marconi, USAF, Investigation of Devin Kelley
                                                                                          X
469   Project 2018C004

      USA22525
JEX
      Activity log on AFOSI Kelley investigation                                          X
470
      USA22529
JEX
      Memo for Record from USAFA/CCLD, Subj: Letter of Censure Delivery 3/21/2019         X
471
      USA24735-24738
JEX
      Kelley ICR Atty Work Product (redacted)                                             X
472
      USA26177-26179
JEX
      AFOSI Spreadsheet - redacted & undated                                              X
473


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       USA26182-26184
JEX
       AFOSI Spreadsheet - redacted & undated                                            X
474
       USA26295
JEX
       Spreadsheet of Case (Crime) Types and Counts                                      X
475
       USA26296
JEX
       Spreadsheet of Deficiency Types and Counts                                        X
476
       USA33584-33725
JEX
       Transcript of Recorded Interviews of Michael, Rebecca & Danielle Kelley 11.5.17   X
477
       HIGGINS 1-2
JEX
       Stmt of Erin Higgins                                                              X
478
JEX    SSS-003567-003569
478-   Erin Higgins Statement                                                            X
 A
JEX    003570-003574
478-   Erin-Danielle Texts                                                               X
 B




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      USA16718-16762
JEX   U.S. DOJ FBI; Criminal Justice Info Services Division Guidelines for Preparation of
                                                                                            X
479   Fingerprint Cards and Associated Criminal History Info

      USA16769
JEX
      SOP Number: 5.5.3; Last Revised: 4/29/2011; Title: Missing Disposition                X
480
      USA16770-16797
JEX   SOP Number: 5.5.4; Last Revised: 12/10/2017; Title: In-house Research; Subjs:
                                                                                            X
481   Multiple NTNs With Different Final Statuses

      USA16798-16813
      SOP Number: 5.5.5 Last Revised: 6/18/2014 Title: External Research; Subjs:
JEX   Outgoing Faxes and Mail, Payment of Court Transcript Fees, Mass Contacts,
                                                                                            X
482   Waiting for Disposition Info, Entering Info Requests to WFD, Entering Info Requests
      to WFD, Research Comments, Process 2nd Request

      USA16814-16832
      SOP Number: 5.5.5 Last Revised: 9/30/2017 Title: External Research; Subjs:
JEX   Payment of Court Transcript Fees, Mass Contacts, Document Request Info,
                                                                                            X
483   Initiating Document Request Fax, Multiple Related Federal DOAs with Missing
      Disposition, Entering Info Received, Research Comments



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      USA16841-16847
      SOP Number: 5.4.9; Last Revised: 6/13/2014; Title: Misdemeanor Crimes of Domestic
JEX   Violence (MCDV); Subjs: Misdemeanor Conviction, Use or Attempted Use of Physical
                                                                                          X
484   Force or Threatened Use of Deadly Weapon, Requesting a Transcript, Qualifying
      Relationship

      USA16848-16854
      SOP Number: 5.4.9; Last Revised: 6/4/2015; Title: Misdemeanor Crimes of Domestic
JEX   Violence (MCDV); Subjs: Misdemeanor Conviction, Use or Attempted Use of Physical
                                                                                          X
485   Force or Threatened Use of Deadly Weapon, Requesting a Transcript, Qualifying
      Relationship

      USA16855-16861
      SOP Number: 5.4.9; Last Revised: 6/4/2014; Title: Misdemeanor Crimes of Domestic
JEX   Violence (MCDV); Subjs: Misdemeanor Conviction, Use or Attempted Use of Physical
                                                                                          X
486   Force or Threatened Use of Deadly Weapon, Requesting a Transcript, Qualifying
      Relationship

      USA16764
JEX
      Military Info; RE: Charge Info, Record Info                                         X
487




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      USA16765-16766
JEX
      Military Terminology Page, Updated Monday, June 10, 2013                             X
488

JEX   USA16767-16768
                                                                                           X
489   Military Terminology Page, Updated Friday, Dec. 11, 2015
      USA16522-16532
JEX   Military Processing Page - Informative Document, Region Lead Examiner: Brad
                                                                                           X
490   Griffin; Region Lead Examiner: Sabrina Yow

      USA16695-16699
JEX   Military Processing Page - Informative Document; Region Lead Examiner: Brad
                                                                                           X
491   Griffin; Updated 1/10/2017

      USA16700-16703
JEX   Military Processing Page - Informative Document; Region Coordinator: Brad Griffin;
                                                                                           X
492   Updated 1/23/2015

      USA16704-16707
JEX   Military Processing Page - Informative Document, Region Lead Examiner: Brad
                                                                                           X
493   Griffin; Updated 2/21/2014




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      USA16708-16711
JEX   Military Processing Page - Informative Document, Region Lead Examiner: Brad
                                                                                            X
494   Griffin; Updated 3/12/2014

      USA16712-16717
JEX   Military Processing Page - Informative Document, Region Coordinator: Brad Griffin;
                                                                                            X
495   Updated 11/19/2015

      USA16319-16359
      FBI Criminal Justice Info Services (CJIS) Division, National Instant Criminal
JEX
      Background Check System (NICS) Overview, Contact: Tina B. Collins, NICS               X
496
      Business Relations Team, 304-625-7399, tbcollins@fbi.gov

      USA16837-16840
      Email From: Larry E. Cotton-Zinn, (CJIS) (FBI), To: Sandra L. Mercuri, OIG DoD,
JEX   CC: Marsha D. Shockey, (CJIS) (FBI), Julia M. Lucas (CJIS) (FIB); Subj: [Non-DoD
                                                                                            X
497   Source] RE: Request for Info on Devin Kelley; Jan. 23, 2018; Overview: Devin Kelley
      NGI Info into the NCIS database

      USA26302-26375
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                            X
498   1A70_Facebook Returns Kelley FB Records 754435402



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      USA26376-27554
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                      X
499   1A70_Facebook Returns; Kelley FB Records 754435402-1

      USA27555-28374
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                      X
500   1A70_Facebook Returns; Kelley FB Records 754435402-2

      USA28375-28524
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                      X
501   1A70_Facebook Returns; Kelley FB Records 100008822226531

      USA28525-29936
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                      X
502   1A70_Facebook Returns; Kelley FB Records 100008822226531-1

      USA29937-32442
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                      X
503   1A70_Facebook Returns; Kelley FB Records 100008822226531-2




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      USA32443-32452
JEX   DOJ / FBI (FBI) Sutherland Springs, Texas; Church Shooting 356E-SA-2228817;
                                                                                       X
504   1A70_Facebook Returns; Kelley FB Records 100009030796425

      TXRANGERS6060 (Native Excel File)
JEX
      Texas Rangers: Sutherland Springs Shooting - Timeline of Events                  X
505
      TXRANGERS6063 (Native Excel File)
JEX
      Texas Rangers: Sutherland Springs Shooting - Timeline of Events                  X
506
      TXRANGERS6064
JEX
      Texas Rangers: Sutherland Springs Shooting - Timeline of Events                  X
507
      TXRANGERS6065-6066
JEX
      Texas Rangers: Sutherland Springs Shooting - Timeline of Events                  X
508
      HOLZ 1
JEX   Memo for SA (Sep.) Yonatan Holz from Dep’t of the Air Force Subj: Letter of
                                                                                       X
509   Censure, March 15, 2019

      TXRANGERS000592; TXRANGERS000813
JEX
      FBI Interview Jessika Edwards 11/6/17                                            X
510


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      TXRANGERS601-602; TXRANGERS857-858; TXRANGERS1602-1603
JEX
      Valarie Lynn Rowe Statement to FBI 11/7/17                                       X
511
      TXRANGERS608-609; TXRANGERS927-928
JEX
      Elizabeth Ann Nugent statement to FBI 11/7/17                                    X
512
      TXRANGERS823-825
JEX
      Joey Mizell Interview                                                            X
513
      TXRANGERS859; TXRANGERS1594
JEX
      Valarie Lynn Rowe Facebook Message from Devin Kelley                             X
514
      TXRANGERS860-862
JEX
      Valarie Lynn Rowe Statement: Handwritten notes by SA Torres 11/6/17              X
515
      TXRANGERS867-891
JEX
      Noe Castaneda Background Check                                                   X
516
      TXRANGERS931-932
JEX
      FBI Interview Troy Bizzack 11/7/17                                               X
517




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      TXRANGERS1232-1233
JEX
      Willis Drivers Record                                                            X
518
      TXRANGERS1238-1239
JEX
      Devin Kelley Speeding Ticket Colorado Springs, Colorado 10/14/2014               X
519
      TXRANGERS1240-1241
JEX
      El Paso Sheriff's Office Background Search into DK                               X
520
      TXRANGERS1242-1243
JEX
      Colorado Springs Willis Statement: Event details Report                          X
521
      TXRANGERS1244-1249
JEX
      Colorado Springs Willis Statement                                                X
522
      TXRANGERS1758-1759
JEX
      Jim Triplett Interview: Facebook Posts of Kelley                                 X
523
      TXRANGERS1790-1791
JEX
      FBI Interview Noe Castaneda Statement 11/8/17                                    X
524




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      TXRANGERS1873-1947
JEX
      FBI Leads report 11/8/17                                                         X
525
      TXRANGERS1948-1951
JEX
      Tracy Picazzo [Tessa Kelley’s Aunt] FBI Statement                                X
526
      TXRANGERS1970-1975
JEX
      Peak Behavioral Escape Incident Report – El Paso Police Dept                     X
527
      TXRANGERS1989
JEX
      Drumarie Grandon FBI Statement                                                   X
528
      TXRANGERS2039-2047
JEX
      AT&T Phone Records: Records Key                                                  X
529
      TXRANGERS2048-2051
JEX
      AT&T Phone Records: Mobility                                                     X
530
      TXRANGERS2052
JEX
      AT&T Phone Records: Wireline                                                     X
531




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      TXRANGERS2053-2114
JEX
      AT&T Phone Records: Historical Location Data                                    X
532
      TXRANGERS2227
JEX
      AT&T Phone Records: Subscriber info                                             X
533
      TXRANGERS2242-2251
JEX
      AT&T Phone Records: Mobility                                                    X
534
      TXRANGERS2253
JEX
      AT&T Phone Records: Wireline                                                    X
535
      TXRANGERS2265-2271
JEX
      AT&T Phone Records: Historical Location Data                                    X
536
      TXRANGERS2272-2280
JEX
      AT&T Phone Records: Records Key                                                 X
537
      TXRANGERS3300-3596
JEX
      AT&T Phone Records: Cell Records                                                X
538




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      TXRANGERS4010-4011
JEX
      AT&T Phone Records: Wireline                                                        X
539
      TXRANGERS4016-4024
JEX
      AT&T Phone Records: Records Key                                                     X
540
      TXRANGERS4025-4777
JEX
      AT&T Phone Records: Mobility w/ Cell Location                                       X
541
      TXRANGERS5821-5830
JEX
      AT&T Phone Records                                                                  X
542
      TXRANGERS6023-31
JEX
      Devin Patrick Kelley SITREP                                                         X
543
      TXRANGERS6232-39
JEX
      BSA Research Summary re Devin Kelley, Danielle Kelly, and Michael Kelley (father)   X
544
      TXRANGERS6192
JEX
      Map of Shooting, DK Residence, Death site                                           X
545




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      TXRANGERS6367
JEX
      Firearms Trace Summary                                                             X
546
      TXRANGERS6370
JEX
      Receipt of gun purchase (Windicator 2/12/2012)                                     X
547
      TXRANGERS6375; TXRANGERS6397
JEX
      Receipt of gun purchase (Sig P250 9MM 15RD BLK FS CMP 4/12/2012)                   X
548
      TXRANGERS6379-6380
JEX
      DK Purchase History from DoD                                                       X
549
      TXRANGERS6400-6402
JEX
      Leads Online report re Pawn/2HD and Scrap purchases made by D. Kelley              X
550
      TXRANGERS6404-07
JEX   Hill Country Truck Store and Firearms Receipt (10/28/2017); 2 - 100 RD MAG AR15,
                                                                                         X
551   1 - Amer Eagle 100rd

      TXRANGERS6412
JEX
      Firearms Trace Summary (AR Rifle)                                                  X
552




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      TXRANGERS6413
JEX
      Firearms Trace Summary (Glock Pistol)                                             X
553
      TXRANGERS6414
JEX
      Firearms Trace Summary (Ruger SR-22)                                              X
554
      TXRANGERS6415
JEX
      DK history of girlfriends                                                         X
555
      TXRANGERS6519
JEX
      TD Employment Report (Heidi Prather)                                              X
556
      TXRANGERS6521-6525
JEX
      Kelley Employment – HEB Employment Email                                          X
557
      TXRANGERS6527-6540
JEX
      Kelley Employment – History of HEB employment (2016)                              X
558
      TXRANGERS6541-6546
JEX
      Kelley Employment – HEB Employment Interview form                                 X
559




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      TXRANGERS6547-6548
JEX
      Kelley Employment – Gateway Questionnaire Response                               X
560
      TXRANGERS6551
JEX
      Kelley work timeline                                                             X
561
      TXRANGERS6552-6554
JEX
      Kelley Employment – Chick-fil-a Employment Email                                 X
562
      TXRANGERS6556-6579
JEX
      Kelley Employment – Schlitterbahn Employment Email                               X
563
      TXRANGERS6580-6601
JEX
      Kelley Employment – Security Application                                         X
564
      TXRANGERS6602
JEX
      Kelley Employment – Target Verification Report (2014)                            X
565
      TXRANGERS6613
JEX
      Kelley Employment – Non-commissioned security guard license                      X
566




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      TXRANGERS6614
JEX
      Kelley Employment – Non-commissioned security guard license TDS Temp Permit        X
567
      TXRANGERS6615
JEX
      Kelley Employment – Non-commissioned security guard license – TOPs                 X
568
      TXRANGERS6616
JEX   Kelley Employment – Non-commissioned security guard license – Background check
                                                                                         X
569   passed

      TXRANGERS6617-6618
JEX
      Kelley Employment – Non-commissioned security guard license – TOPs Personal info   X
570
      TXRANGERS6729-6730
JEX
      Nov. 1 Cibolo Police Investigation: Cibolo (11/1/17) Notes of Interview            X
571
      TXRANGERS6731-6747
JEX
      Comal County Sheriff’s Criminal Offense Report                                     X
572
      TXRANGERS6748
JEX
      Comal Co Abuse Report (2/1/14)                                                     X
573




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      TXRANGERS6762-6767
JEX
      DK El Paso incident Report                                                        X
574
      TXRANGERS6770
JEX
      Kelley’s Prior Girlfriends (MS Word Document)                                     X
575
      TXRANGERS6777-6778
JEX
      DK TxDPS Criminal History Search                                                  X
576
      TXRANGERS6842-6849
JEX
      Devin Kelley Texas Dep’t Public Safety File                                       X
577
      TXRANGERS6850
JEX
      Concealed Handguns Permit Delayed                                                 X
578
      TXRANGERS6851-6857
JEX
      Devin Kelley animal cruelty arrest El Paso County, Colorado 8/1/2014              X
579
      TXRANGERS6858-6860
JEX
      Colorado v. Kelley 2014R9171 – El Paso County Traffic Infraction                  X
580




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      TXRANGERS6866-6887
JEX
      New Braunfels Juvenile Records                                                    X
581
      TXRANGERS00010925.mp3; TXRANGERS00073278
JEX
      Audio Interview of Frank Pomeroy by Ranger Terry Snyder                           X
582
      TXRANGERS00010939-10952; TXRANGERS48133-48146
JEX
      Kelley Icloud Apple return 17108028                                               X
583
      TXRANGERS13174-13175; TXRANGERS75453-75454
JEX
      Devin Kelley Texts to Michelle Shields (5/26/17)                                  X
584
      TXRANGERS13217-13220
JEX
      Interview Summary of Michael Kelley & Danielle Kelley (11/5/17)                   X
585
      TXRANGERS16657
JEX
      911 call from Michael Kelley                                                      X
586
      TXRANGERS46586-46656
JEX
      Ranger’s Full Report of Investigation (12/8/17)                                   X
587




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      TXRANGERS46679-81
JEX
      Summary of D. Kelley’s indicators prior to shooting                               X
588
      TXRANGERS46864
JEX
      Photo of Devin Kelley in mask                                                     X
589
      TXRANGERS47011
JEX
      Photo of marijuana in hand                                                        X
590
      TXRANGERS48216-17
JEX
      Sutherland Springs Situation Report 3                                             X
591
      TXRANGERS48655
JEX
      Sutherland Springs Situation Report 1                                             X
592
      TXRANGERS48213-15
JEX
      Sutherland Springs Situation Report                                               X
593
      TXRANGERS48218-48223
JEX
      Rangers Investigation Information                                                 X
594




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      TXRANGERS48230-48233
JEX
      Rangers Draft on Shooter Motivations                                              X
595
      TXRANGERS48224-48225
JEX
      Suspect Information                                                               X
596
      TXRANGERS48827-48828
JEX
      Devin Kelley History PPT                                                          X
597
      TXRANGERS49004
JEX
      Audio recording of Rod Green & Michelle Shields Interview                         X
598
      TXRANGERS49306-07
JEX
      Interview with Erin Brassfield; TX Ranger: Christopher Kindell                    X
599
      TXRANGERS49380-84
JEX
      Billy Mims interview with Michael, Rebecca, and Danielle Kelley                   X
600
      TXRANGERS49385; TXRANGERS49390-49391
JEX   Supplemental report re execution of warrant to search D. Kelley’s residence and
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601   family’s property




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       TXRANGERS49387-49388
JEX
       Christopher Moss Interview Re: Kelley’s high-capacity magazine purchase           X
602
       TXRANGERS53246
JEX
       Cibolo PD body cam video of encounter with Kelley re photos of sexual assault     X
603
       TXRANGERS53248-53253
JEX
       Nov. 1 Cibolo Police Investigation: Cibolo Incident Report                        X
604
       TXRANGERS53638-53640
JEX
       Tessa Kelley / Brennaman Interview                                                X
605
       TXRANGERS53247
JEX
       Nov. 1 Cibolo Police Investigation: Video of Police Interaction                   X
606
       TXRANGERS53247
JEX
       Transcript of video from Nov. 1 Cibolo Police Investigation: Video of Police
606-                                                                                     X
       Interaction
 A
       TXRANGERS54102; TXRANGERS54104
JEX
       Background Check Return                                                           X
607




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      TXRANGERS53351-53
JEX
      Joseph Evans Supplemental Report (11.7.17)                                            X
608
      TXRANGERS53617-21
JEX   Supplemental report re interviews with Michael and Rebecca Kelley, and Danielle
                                                                                            X
609   Kelley (Shields) TX Ranger: Billy Mims

      TXRANGERS53652-54
JEX
      Adam Russell Supplemental Report (11.8.17)                                            X
610
      TXRANGERS53663-66
JEX   Supplemental report re review and collection of evidence from D. Kelley’s residence
                                                                                            X
611   TX Ranger: Brent Barina

      TXRANGERS13216-13220
JEX
      Brent Barina Report: Interview of Michael and Rebecca Kelley (11.5.2017)              X
612
      SSS-002305-002350
JEX
      Webster CV                                                                            X
613
      SSS-002352-002373
JEX
      Youngner CV                                                                           X
614


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      SSS-002407-002409
JEX
      Rymer CV                                                                         X
615
      SSS-002844-002860
JEX
      Metzner CV                                                                       X
616
      USA32775-32812
JEX
      Harold Bursztajn’s CV                                                            X
617
      USA32976-33015
JEX
      James A. Fox’s CV                                                                X
618
      USA32479-32508
JEX
      CV of John J. Donohue, III                                                       X
619
      USA00025752-USA00025753
JEX
      Breyer CV                                                                        X
620
      USA00025734-USA00025738
JEX
      Barborini CV                                                                     X
621




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      TXRANGERS13250-TXRANGERS13252
JEX
      Pastor Joshua Adam Walters Texas Rangers Report                                         X
622
      SSS-001113-001121; USA5425-5433
      Stmt of Glenn A. Fine, Dep’t of Defense Principal Deputy Inspector General,
      Performing the Duties of the Inspector General for a hearing on “Firearm Accessory
JEX
      Regulation and Enforcing Federal and State Reporting to the National Instant            X
623
      Criminal Background Check System (NICS)”, before the Senate Judiciary
      Committee, 12/6/2017

      SSS-001125-001129; SSS-1148-1152; USA22314-22318; USA10238-10243
JEX   Stmt of Douglas E. Lindquist, Asst Director, Criminal Justice Info Services Division,
                                                                                              X
624   FBI, USDOJ, before the Committee on the Judiciary, US Senate Hearing, 12/6/2017

      SSS-001142-001147; USA22295-22300
JEX   Testimony of ATF Deputy Director Thomas E. Brandon before the Committee on the
                                                                                              X
625   Judiciary, US Senate Hearing, 12/6/2017

      USA22301-22313
JEX   QFRs from ATF Deputy Director Thomas E. Brandon arising from Senate Judiciary
                                                                                              X
626   Committee on 12/6/2017




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      SSS-000404-000405; USA22324-22325
JEX   Report to the Committee on the Judiciary United States Senate from The Honorable
                                                                                          X
627   Heather Wilson, Secretary of the Air Force, Dec. 6, 2017

      SSS-001112
JEX
      Video of Testimony before the Senate Judiciary Committee, 12/6/2017                 X
628
      SSS-001122-001124
      Prepared Stmt by Senator Chuck Grassley of Iowa, Chairman, Senate Judiciary
JEX   Committee, Firearm Accessory Regulation and Enforcing Federal and State
                                                                                          X
629   Reporting to the National Instant Criminal Background Check System (NICS),
      12/6/2017

      SSS-001130-001141
JEX   Testimony of Stephen P. Halbrook before the Committee on the Judiciary, US Senate
                                                                                          X
630   Hearing, 12/6/2017

      SSS-001330-001332
JEX
      OSI owns indexing response, way ahead, AFOSI Public Affairs (Nov. 5, 2018)          X
631
      SSS-001340
JEX
      Speech by John Cornyn                                                               X
632



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      SSS-001341-001345
      DoD IG Responses to Post Hearing Questions for the Record for the Hearing,
JEX
      “Firearm Accessory Regulations and Enforcing Federal and State Reporting to the   X
633
      National Instant Criminal Background Check System (NICS)” (12/6/17)

      USA26297-26299
      Emails: HQ AFOSI SME LE Rally 1200 to 1400 hours 16 Dec 2015 VTC CALL IN;
JEX
      NUMBER 230-0060 DS Conference Room between Jack Angelo, SA, DAF & Kirk B.         X
634
      Stabler, Colonel, USAF, Dec. 8-9, 2015

      USA26300-26301
JEX   Memo: Titling/Indexing, Criminal History; Data/Fingerprint Submissions, and DNA
                                                                                        X
635   Submissions, 30 Dec. 2015


JEX
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636
      BANKHEAD 1-17
JEX
      Facebook message with “Randy Taylor”                                              X
637




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      GUADALUPECNTY 1-63
JEX   Excerpt of Proceedings/Bench Trial Testimony of Danielle Kelley Taken: April 15,
                                                                                           X
638   2019

      USA10255-10256
JEX
      Form No. R-84 (Rev. 09-15-2017) OMB-1110-0051; Titled Disposition Report             X
639
      USA16683-16686
JEX   SOP Number: 5.4.8; Last Revised: 12/18/2014; Title: Military; Subjs: Levels of
                                                                                           X
640   Discharge, Processing Military Charges

      USA12818-12821
JEX   Title: Military; Levels of Discharge; Processing Military Charges; SOP No.: 5.4.8,
                                                                                           X
641   date last revised 12/18/14

      USA16687-16690
JEX   SOP Number: 5.4.8; Last Revised: 08/08/2017; Title: Military; Subjs: Levels of
                                                                                           X
642   Discharge, Processing Military Charges

      USA16691-16694
JEX   SOP Number: 5.4.8; Last Revised: 12/18/2014; Title: Military; Subjs: Levels of
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643   Discharge, Processing Military Charges



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      Brady Handgun Violence Prevention Act: Hearing Before the Subcommittee
      on Crime and Criminal Justice of the Committee on the Judiciary, House of
JEX
      Representatives, 103RD Congress, First Session on H.R. 1025, Brady               X
644
      Handgun Violence Prevention Act (September 30, 1993) Serial No. 26

JEX   Bill Clinton Brady Bill Signing Statement
                                                                                       X
645
JEX   Introduction of HR 1025
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646
JEX   Plaintiffs’ Declarations
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647
JEX   Declaration of Bradford Hunt
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648
      USA12746-12766
JEX
      The I2MS Fingerprinting Guide                                                    X
649
      United States’ Response to Plaintiffs’ Second Request for Admissions &
JEX
      Interrogatories to Defendant, United States of America (3/9/2020)                X
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JEX   Excerpt of Defendant U.S. Suppl Disclosure
                                                                                      X
651
JEX   Defendant Supplemental Disclosure
                                                                                      X
652
JEX   Duty Status Change
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653
JEX   TUI Leave Request Authorization Form 6.22.11
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654
JEX   Email from James Hoy re Non-DoD Source 11.6.17
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655
JEX   Declaration of Robert M. Ford June 18, 2020
                                                                                      X
656
      National Instant Criminal Background Check System (NICS) Operations
JEX
      2016                                                                            X
657

JEX   FBI NICS Background Check Binder
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658




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      Dept of AF Memo for DOD-IG re Draft Report Eval of DoD Compliance w-
JEX
      Criminal History Data Reporting 10/9/2014                                        X
659

JEX   Facebook Messages between Matt Taylor & James Hoy
                                                                                       X
660
      Dep’t of Defense Instruction Rqmts for mental health Evals of Members of
JEX
      the Armed Forces 8.28.97                                                         X
661

JEX   Text Messages between Yon & Holz
                                                                                       X
662
JEX   Email Messages between Vince Bustillo & James Hoy
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663
      18-949-233-248 (produced before consolidation)
JEX   Dept of the Air Force Memo for 49 WG/JA re Probable Cause Determination Kelley
                                                                                       X
664   6.10.13

      Dept of Defense Manual re Defense Incident-Based Reporting System - Data
JEX
      Segments & Elements 12.7.10                                                      X
665

JEX   Blank Fingerprint Cards
                                                                                       X
666


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JEX   Letter from U.S. DOJ, ATF re Kelley 2018
                                                                                       X
667
JEX   Declaration of Matthew Veltri
                                                                                       X
668
      TXRANGERS00000048
JEX
      Texas Ranger Investigative Timeline & Overview                                   X
669
      TXRANGERS00006022; TXRANGERS48804
JEX
      Report on Donald Brassfield 12/04/1964                                           X
670
      TXRANGERS00002027-TXRANGERS00002033
JEX
      FBI San Antonio VCC #1 - First Baptist Church Shooting Sutherland Springs        X
671
      TXRANGERS00006063
JEX
      Texas Ranger Investigative Timeline & Overview                                   X
672
      TXRANGERS00006403
JEX
      Receipt from 10-28-17 - HCT&F - 11-6-17.pdf                                      X
673
      TXRANGERS00006484
JEX
      Hill Country Truck Store & Firearms Post                                         X
674


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      TXRANGERS00006724
JEX
      New Braunfels Counseling Center 07202016.JPG                                     X
675
      TXRANGERS00006725-TXRANGERS00006727
JEX
      Texas Education Agency Course Completion Data for Devin Patrick Kelley           X
676
      TXRANGERS00006749-TXRANGERS00006754
JEX
      Devin Kelley Bullet-point Writeup                                                X
677
      TXRANGERS00006755-TXRANGERS00006761
JEX
      DevinPKelley_NBISDrecords.pdf                                                    X
678
      TXRANGERS00006773-TXRANGERS00006774
JEX
      State of Texas Academic Achievement Record New Braunfels High School             X
679
      TXRANGERS00010936
JEX
      Recording of Workman Statement on 11/26/2017 5:01 p.m.                           X
680
      TXRANGERS00010957
JEX
      Picture of Kelley Pointing Gun to Camera                                         X
681




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      TXRANGERS00010958
JEX
      Picture of Kelley Holding AR wearing Sunglasses                                   X
682
      TXRANGERS00010961
JEX
      Picture of schoolshooters.info                                                    X
683
      TXRANGERS00010965
JEX
      Picture of Kelley in Mask Holding AR                                              X
684
      TXRANGERS00010966
JEX
      Picture of Businessinsider.com                                                    X
685
      TXRANGERS00010967
JEX
      Picture of Kelley Pointing Gun to Camera in Body Armor and Holding AR             X
686
      TXRANGERS00010968
JEX
      Picture of Shotgun on the Couch                                                   X
687
      TXRANGERS00010969
JEX
      Picture of Kelley Pointing Gun to Own Head                                        X
688




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      TXRANGERS00010970
JEX
      Picture of Kelley wearing mask giving middle finger                                X
689
      TXRANGERS00010971
JEX
      Picture of knife and gun                                                           X
690
      TXRANGERS00010972
JEX
      Picture of Kelley wearing mask with AR in background                               X
691
      TXRANGERS00013230-TXRANGERS00013233
JEX   TR Garcia Supplemental Report #2 regarding background information on Devin
                                                                                         X
692   Kelley

      TXRANGERS00013895-TXRANGERS00013897
JEX
      TR Mims Report of Search of Devin Kelley's residence on 11.5.17                    X
693
      TXRANGERS00016658-TXRANGERS00016668
JEX   Video of Texas Rangers Interview of Michael Kelley, Rebecca Kelley, and Danielle
                                                                                         X
694   Kelley on 11.5.17

      TXRANGERS00016681
JEX
      Picture of love note from Danielle to Devin Kelley                                 X
695


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       TXRANGERS00016684
JEX
       Picture of “I love you” note and materials                                        X
696
       TXRANGERS00016685
JEX
       Close up of “I love you” note                                                     X
697
       TXRANGERS00046682-TXRANGERS00046692
JEX
       TR Report: "Details First Baptist Church shooting on 11-5-2017"                   X
698
JEX    Deleted Photos
699-   699-A TXRANGERS00046856; Picture of Devin Kelley holding minor                    X
 A
JEX    Deleted Photos
699-   699-B TXRANGERS00046877; Picture of Devin Kelley holding AR                       X
 B
JEX    Deleted Photos
699-   699-C TXRANGERS00046878; Picture of Devin Kelley holding shotgun                  X
 C
JEX    Deleted Photos
699-   699-D TXRANGERS00046886; Picture of Devin Kelley and minor                        X
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JEX    Deleted Photos
699-   699-E TXRANGERS00046900; Picture of A1C Kelley                                   X
 E
JEX    Deleted Photos
699-   699-F TXRANGERS00046901; Picture of Devin and Danielle Kelley                    X
 F
JEX    Deleted Photos
699-   699-G TXRANGERS00047046; Picture of AR modified with flashlight                  X
 G
       TXRANGERS00048130-TXRANGERS00048131
JEX
       Summary of Devin Kelley's iCloud Account                                         X
700
       TXRANGERS00048172
JEX
       No Record Found from TX CPS regarding Devin Kelley                               X
701
       TXRANGERS00048210
JEX
       Shooter Timing and Pauses Inside Church.doc                                      X
702
       TXRANGERS00048211-TXRANGERS00048212
JEX
       Situation Report #2.docx                                                         X
703




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      TXRANGERS00049089-TXRANGERS00049090
JEX
      Supplement 2.pdf – Checking on the status of victims                             X
704
      TXRANGERS00053874-TXRANGERS00053877; TXRANGERS00049224-49227
JEX   2017I-TRF-50018772-S51_Jeter.pdf
                                                                                       X
705   Summary of Processing of Scene Evidence

      TXRANGERS00049323-TXRANGERS00049324
JEX
      Supplement #30.pdf                                                               X
706
      TXRANGERS00049353-TXRANGERS00049354
JEX
      Supplement #39.pdf – Statement of Kathleen Curnow                                X
707
      TXRANGERS00049355-TXRANGERS00049356; TXRANGERS53732-53733
JEX
      Supplement #40.pdf – Statement of Fred Curnow                                    X
708
      TXRANGERS00049417
JEX
      Interview Charlotte Ann Hudson 11-8-2017.WMA                                     X
709
      TXRANGERS00053377-TXRANGERS00053378
JEX   2017I-TRF-50018811-S3-Kite.pdf
                                                                                       X
710   Interviews with Margaret McKenzie and Margarette Vidal



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      TXRANGERS00053379-TXRANGERS00053380
JEX   2017I-TRF-50018811-S4-Kite.pdf
                                                                                    X
711   Interview with Zachary Poston

      TXRANGERS00053381-TXRANGERS00053382
JEX   2017I-TRF-50018811-S5-Kite.pdf
                                                                                    X
712   Interview with David Colbath

      TXRANGERS00053577-TXRANGERS00053578
JEX   2017I-TRF-50018797-S2-Hatfield.pdf
                                                                                    X
713   Interview with Farida Brown

      TXRANGERS00053580-TXRANGERS00053594
JEX   Texas Rangers Report of Investigation
                                                                                    X
714   Multiple Victim Interviews

      TXRANGERS00053599-TXRANGERS00053600
JEX   2017I-TRF-50018787-S3-Gideon.pdf
                                                                                    X
715   Interview with Robert Braden




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      TXRANGERS00053601-TXRANGERS00053606
JEX   2017I-TRF-50018787-S4-Pauska.pdf
                                                                                          X
716   Interviews with John Holcombe, Morgan Harris, Kyle Workman and minor EJH

      TXRANGERS00053607-TXRANGERS00053612
JEX   2017I-TRF-50018787-S5-Pauska.pdf
                                                                                          X
717   Multiple Victim Interviews

      TXRANGERS00053633-TXRANGERS00053634
JEX   TR Report of Three Phone Conversations with Michael Kelley (11.8.17) (Prepared by
                                                                                          X
718   Mims)

      TXRANGERS00053649-TXRANGERS00053651
JEX   2017I-TRF-50018624-S12-Russell.pdf
                                                                                          X
719   Interview with Kyle Workman

      TXRANGERS00053667-TXRANGERS00053668
JEX   2017I-TRF-50018624-S17-Evans.pdf
                                                                                          X
720   Interview with Stephen Willeford




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      TXRANGERS00053669-TXRANGERS00053670
JEX   2017I-TRF-50018624-S18-Evans.pdf
                                                                                    X
721   Interview with Johnnie Langendorff

      TXRANGERS00053671-TXRANGERS00053672
JEX   2017I-TRF-50018624-S19-Evans.pdf
                                                                                    X
722   Interview with Kevin Jordan

      TXRANGERS00053675-TXRANGERS00053677
JEX   2017I-TRF-50018624-S20-Mitchell.pdf
                                                                                    X
723   Review of surveillance video

      TXRANGERS00053678-TXRANGERS00053679
JEX   2017I-TRF-50018624-S21-Kindell.pdf
                                                                                    X
724   Interview of Charles Carter

      TXRANGERS00053688-TXRANGERS00053689
JEX   2017I-TRF-50018624-S26-Rackley.pdf
                                                                                    X
725   Interview with Charlotte Glisson Hudson




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      TXRANGERS00053694-TXRANGERS00053695
JEX   2017I-TRF-50018624-S29-Rackley.pdf
                                                                                       X
726   Interview with Ronald Steven Hudson

      TXRANGERS00053696-TXRANGERS00053698
JEX   2017I-TRF-50018624-S2-Garcia.pdf
                                                                                       X
727   Summary of Collection of Background Information re Devin Patrick Kelley

      TXRANGERS00053710-TXRANGERS00053712
JEX   2017I-TRF-50018624-S34-Duck.pdf
                                                                                       X
728   Interview with Stephanie Willeford

      TXRANGERS00053734-TXRANGERS00053735
JEX   2017I-TRF-50018624-S41-Snyder.pdf
                                                                                       X
729   Interview with Julie Workman

      TXRANGERS00053739-TXRANGERS00053740
JEX   2017I-TRF-50018624-S43-Garcia.pdf
                                                                                       X
730   Interview with Terrie Smith/Valero Witnesses




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      TXRANGERS00053741-TXRANGERS00053742
JEX   2017I-TRF-50018624-S44-Garcia.pdf
                                                                                       X
731   Interview with Lorenzo Flores, Jr.

      TXRANGERS00053743-TXRANGERS00053744
JEX   2017I-TRF-50018624-S45-Garcia.pdf
                                                                                       X
732   Interview with Hannah Nicole Bingham

      TXRANGERS00053752-TXRANGERS00053753
JEX   2017I-TRF-50018624-S6-Sanchez.pdf
                                                                                       X
733   Interview with Joaquin Ramirez

      TXRANGERS00053902
JEX
      Audio Recording of Robert Braden                                                 X
734
      TXRANGERS00055323-TXRANGERS00055324
JEX
      Wilson County Sheriff's Office Voluntary Statement of Fred Curnow                X
735
      TXRANGERS00055325
JEX
      Wilson County Sheriff's Office Voluntary Statement of Julie Workman              X
736




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      TXRANGERS00055329
JEX
      Wilson County Sheriff's Office Voluntary Statement of Kathleen Curnow            X
737
      TXRANGERS00055330
JEX
      Wilson County Sheriff's Office Voluntary Statement of Kevin Jordan               X
738
      TXRANGERS13241-43; TXRANGERS53680-53681
JEX
      Interview Summary of Erin Brassfield                                             X
739
      TXRANGERS13443-13446; TXRANGERS49338-49340
JEX
      Summary of Search of Michelle Shields Cell Phone and Emails                      X
740
      TXRANGERS13498-13499; TXRANGERS49263-49264; TXRANGERS53750-
JEX   53751
                                                                                       X
741   Interview Summary of Michelle Shields & Rod Green

      TXRANGERS13875-78; TXRANGERS00053635-53637
JEX
      Ranger Mims Interviews with Manuel Paniagua and Michael Swanson                  X
742
      TXRANGERS13883-13885; TXRANGERS00053641-53642
JEX
      Ranger Mims Interview with Aaron Leggett                                         X
743




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      TXRANGERS13909-11; TXRANGERS00053631-53632
JEX   Ranger Mims Supplemental Report: Interview of Brandon Beaty, General Manager
                                                                                         X
744   of Hill Country Truck Store & Firearms (11.7.2017)

      USA5397-5398
JEX   Basic training practices at the Federal Law Enforcement Training Center (FLETC),
                                                                                         X
745   in Glynco, GA re: the Criminal Investigator Training Program (CITP)

      USA12959-13170
      Air Force Instruction 36-2201; Air Force Training Program, Superseding: AFI 36-
JEX
      2201V1, 10/1/2002 AFI 36-2201V2, 1/13/2004 AFI 36-2201V3, 2/4/2005 AFI 36-         X
746
      2201V4, 10/23/2002 AFI 36-2201V5, 6/8/2004 AFI 36-2201V6, 9/27/2002

      USA24755-24843
JEX   CFETP_7S0X1-71SX-1811-O 20120717_OB, Career Field Education and Training
                                                                                         X
747   Program

      USA24844
JEX
      KFAT Tool – Case File Assessment Tool                                              X
748
      USA25432
JEX
      Region Case Review Checklist                                                       X
749



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JEX    TXRANGERS Photos of Kelley Barn
                                                                                              X
799
       USA12316-12317
JEX    AFOSI Basic Special Investigator’s Course titled Integrated Automated Fingerprint
                                                                                              X
801    Identification System (IAFIS)

       USA16546-16637
JEX
       AFSC 7S0X1 Career Field Education and Training Plan                                    X
802
       18-881-000038-52
JEX
       FB messages between Danielle and Charlene Uhl                                          X
803

                                       PLAINTIFFS’ TRIAL EXHIBITS

       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Lt. Col.
PEX
       Robert Bearden]                                                                        X   X
 87
       Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [Lt. Col. Robert
PEX
       Bearden]                                                                               X   X
87-A




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       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Vince
PEX
       Bustillo]                                                                            X   X
 88
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Academy Witness R.C.]                                                               X
 89
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Academy Witness P.D.]                                                               X
 90
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Col.
PEX
       Robert Ford, Jr.]                                                                    X   X
 91
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Academy Witness W.F.]                                                               X
 92
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript
PEX
       [Yonatan Holz]                                                                       X   X
 93

PEX    Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [Yonatan Holz]
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93-A




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       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [James
PEX
       Hoy]                                                                                  X   X
 94

PEX    Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [James Hoy]
                                                                                             X   X
94-A
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Col.
PEX
       James Hudson]                                                                         X   X
 95
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Candance Marlowe]                                                                    X
 96
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Maj.
PEX
       Nathan McLeod-Hughes]                                                                 X   X
 97
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Clinton
PEX
       Mills]                                                                                X   X
 98

PEX    Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [Clinton Mills]
                                                                                             X   X
98-A
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Academy Witness N.M.]                                                                X
 99


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       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Col.
PEX
       John Owen]                                                                           X   X
100
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [James
PEX
       Poorman]                                                                             X   X
101
       Plaintiffs’ Trial Deposition Testimony Counter-Designation – Pages from Transcript
PEX
       [Academy/Ruger Witness K.R.]                                                         X
102
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Ryan
PEX
       Sablan]                                                                              X   X
103
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [SA
PEX
       Robert Spencer]                                                                      X   X
104
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript
PEX
       [Randall Taylor]                                                                     X   X
105
PEX    Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [Randall
105-   Taylor]                                                                              X   X
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       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Col.
PEX
       Owen Tullos]                                                                          X   X
106
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Shelley
PEX
       Ann Verdejo]                                                                          X   X
107
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Emily
PEX
       Willis]                                                                               X   X
108
       Plaintiffs’ Trial Deposition Testimony Designation – Pages from Transcript [Lyle
PEX
       Bankhead]                                                                             X   X
109
PEX    Video excerpt of Plaintiffs’ Trial Deposition Testimony Designation [Lyle
109-   Bankhead]                                                                             X   X
 A
       SSS-002667-002683
PEX    DOI: 10.1111/1745-9133.12475; Zeoli & Paruk, Potential to prevent mass shootings
                                                                                                 X
750    through domestic violence firearm restrictions




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      USA12345-12374
      AFOSI PPT presentation on Case Closure & Criminal Indexing; References: DoDI
PEX
      5505.14; DoDI 5505.11; DoDI 7730.47; AFI 71-101, Vol 1; AFOSIMAN 90-101;               X
751
      AFOSIMAN 71-121

      USA12377
PEX   Decision Guide for Taking Fingerprints and DNA from Subjects of AFOSI
                                                                                             X
752   Investigations

      SSS-002684-002688; USA32592-32596
PEX   Wright, et al., Effectiveness of Denial of Handgun Purchase to Persons Believed to
                                                                                                 X
753   Be at High Risk for Firearm Violence

      SSS-002689-002719
PEX   Campbell, et al., Risk Factors for Femicide in Abusive Relationships: Results from a
                                                                                                 X
754   Multisite Case Control Study

      SSS-002720-002725
PEX
      Bailey, et al., Risk Factors for Violent Death of Women in the Home                        X
755




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      SSS-002726-002731
PEX   Smith, et al., Intimate Partner Homicide and Corollary Victims in 16 States:
                                                                                                    X
756   National Violent Death Reporting System, 2003–2009

      SSS-002732-002739; USA32564-32571
PEX   Wintemute, et al., Subsequent Criminal Activity Among Violent Misdemeanants
                                                                                                    X
757   Who Seek to Purchase Handguns

      SSS-002740-002747
PEX
      Kellermann, et al., Gun Ownership as a Risk Factor for Homicide in the Home                   X
758
      SSS-002748-002766
PEX   Jane Koziol-McLain, PhD, RN, Risk Factors for Femicide-Suicide in Abusive
                                                                                                    X
759   Relationships: Results From a Multisite Case Control Study

      SSS-002767-002773
PEX   Los Angeles Times, Op-Ed: We have studied every mass shooting since 1966. Here’s
                                                                                                    X
760   what we’ve learned about the shooters

      SSS-002774-002780
PEX   Zeoli, et al., Analysis of the Strength of Legal Firearms Restrictions for Perpetrators
                                                                                                    X
761   of Domestic Violence and Their Associations With Intimate Partner Homicide



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      SSS-002781-002785
PEX   Saltzman, et al., Weapon Involvement and Injury Outcomes in Family and Intimate
                                                                                            X
762   Assaults

      SSS-002786-002792
PEX   Smucker, et al., Suicide and Add’l Homicides Associated with Intimate Partner
                                                                                            X
763   Homicide: North Carolina 2004–2013

      SSS-002793-002797
PEX   Wintemute, et al., Suicide and Add’l Homicides Associated with Intimate Partner
                                                                                            X
764   Homicide: North Carolina 2004–2013

      SSS-002798-002806; USA32720-32728
PEX   Wintemute, Background Checks For Firearm Purchases: Problem Areas And
                                                                                            X
765   Recommendations To Improve Effectiveness

      SSS-002810
PEX
      Violence Project Spreadsheet (native format)                                          X
766
      SSS-002811-002814
PEX   What Explains U.S. Mass Shootings? International Comparisons Suggest an Answer
                                                                                            X
767   (NY Times) (11/7/2017)



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      SSS-002903-002912
PEX
      Excerpts from Manual for Courts-Martial United States (2019 Ed.)                 X   X
768
      SSS-002913-002915
PEX
      DOJ Criminal Resource Manual Section 1117                                        X   X
769
      SSS-002916-003051
PEX
      IG/DOD Semiannual Report to the Congress (4.1.15-9.30.15)                        X   X
770
      SSS-003052-003140; USA33429-33517
      LAW ENFORCEMENT: Few Individuals Denied Firearms Purchases Are Prosecuted
PEX
      and ATF Should Assess Use of Warning Notices in Lieu of Prosecutions (GAO            X
771
      9.2018)

      SSS-3141-3153
PEX
      Deadliest Mass Shooters Have A History of Domestic Violence                          X
772
      SSS-3154
PEX
      DOJ – Firearms and Domestic Violence - The Intersections                             X
773




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      SSS-3155-3258
PEX   Domestic Violence Recidivism - Restorative Justice Intervention Programs for First-
                                                                                                  X
774   Time Offenders (2017 Payne)

      SSS-3259-3279
PEX
      DSM5 Excerpt - Bipolar & Related Disorders                                                  X
775
      SSS-3280-3294
PEX   Excerpt from Principles & Practice of Forensic Psychiatry (3d ed.) - Clinical Mgmt of
                                                                                                  X
776   Aggression & Violence (2017)

      SSS-3295-3531
PEX
      HCR-20 Violence Risk Assessment Scheme – Bibliography                                       X
777
      SSS-3532-3550
PEX
      HCR-20 Violence Risk Assessment Scheme (1999)                                               X
778
      SSS-3551-3564
PEX
      Operationalizing the Assessment & Mgmt of Violence Risk in Short-Term                       X
779
      SSS-3565-3566
PEX
      Statement on Intimate Partner Violence (2018)                                               X
780


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      Using Research Evidence to Reframe the Policy Debate Around Mental Illness and
PEX
      Guns: Process and Recommendations                                                        X
781

PEX   Swanson, Preventing Gun Violence Involving People with Serious Mental Illness
                                                                                               X
782
      Holtzworth-Munroe A, Meehan JC, Herron K, Rehman U, Stuart GL (2000) Testing
PEX   the Holtzworth-Munroe and Stuart batterer typology. Journal of Consulting and
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783   Clinical Psychology 68: 1000–1019.

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PEX
      subtypes and the differences among them. Psychological Bulletin 116: 476–497.            X
784
      Liem, Markieke and Ashley Reichelmann. (2013) Patterns of Multiple Family
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785
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786   28–36.

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787



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       Crifasi, Cassandra K, Seema Choksey, Shani Buggs, and Daniel Webster. (2017) The
       initial impact of Maryland’s Firearm Safety Act of 2013 on the supply of crime guns
PEX
       in Baltimore. The Russel Sage Foundation Journal for the Social Sciences 3(5):128-        X
788
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PEX    (2002) How delinquent youth acquire guns: Initial versus most recent gun
                                                                                                 X
789    acquisitions. Journal of Urban Health vol. 79, pages 60-69.

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PEX
       https://emedicine.medscape.com/article/805546-overview                                    X
790
PEX    Dvoskin JA, Heilbrun, K: Risk Assessment and Release Decision-Making: Toward
790-   Resolving the Great Debate. J Am Acad Psychiatry Law 29:6-10 (2001)                       X
 A
       National Coalition Against Domestic Violence (2016). Domestic violence and
PEX
       firearms. Retrieved from http://ncadv.org/files/Gun%20Fact%20Sheet.pdf                    X
791
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PEX
       disorders (DSM-5®). American Psychiatric Pub, 2013.                                       X
792




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PEX    Aerial Photos of Kelley Property
                                                                                            X
793
       Harrington, David, Ralph B. D’Agostino, Constantine Gatsonis and others. New
       Guidelines for Statistical Reporting in the Journal. (2019) New England Journal of
PEX
       Medicine 381:285-286. DOI: 10.1056/NEJMe1906559                                          X
794
       https://www.nejm.org/doi/full/10.1056/NEJMe1906559

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PEX    Violence: An epidemiological approach.” In Violence and Mental Disorder, J.
                                                                                                X
795    Monahan and H. Steadman, eds. Chicago: University of Chicago Press.

PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-A      5:18-cv-00555: Joe Holcombe & Claryce Holcombe                            X
 A
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-B      5:18-cv-00712: Margarette Vidal                                           X
 B
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-C      5:18-cv-00881: Charlene Uhl, Individually & as Administrator of the
796-                                                                                        X
                  Estate of H.K.
 C




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       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-D      5:18-cv-00944: Ronald Ramsey, Jr. & Gary Ramsey, Individually & as Co-
796-                                                                                        X
                  Administrators of the Estate of Therese Rodriguez
 D
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX    796-E      5:18-cv-00949: Lisa McNulty, Individually, As Representative of the
796-              Estate of Tara McNulty, and ANF Minors H.M. & J.M.; Intervenor Ruben      X
 E                Rios

       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX    796-F      5:18-cv-00951: Kati Wall, Michael Johnson and Dennis Neil Johnson, Jr.,
796-              Individually and as Representatives of the Estates of Dennis Johnson &    X
 F                Sara Johnson; Christopher Johnson; Deanna Staton; James Graham

       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-G      5:18-cv-01151: Regina Amador, Individually & as Administrator of the
796-                                                                                        X
                  Estate of Ricardo Rodriguez
 G
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-H      5:19-cv-00184: Farida Brown                                               X
 H




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       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-I      5:19-cv-00289: Christopher Ward, Individually, as Administrator of the
796-                                                                                          X
                  Estates of Joann Ward & B.W., and ANF Minor R.W.
 I
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-J      5:19-cv-00506: Kris Workman                                                 X
 J
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-K      5:19-cv-00678: David Colbath                                                X
 K
       Plaintiffs’ Jurisdictional Evidence: Form 95s
       796-L      5:19-cv-00691: Deborah Braden, Individually and as Administrator of the
                  Estate of Keith Braden; Elizabeth Braden, Individually & ANF Minor
PEX               Z.Z.; Benjamin Corrigan, Individually and as Administrator of the
796-              Estates of Shani Corrigan & Roberto Corrigan; Preston Corrigan; Kara        X
 L                Boyd; Martina Pachel, Individually and as Administrator of the Estates of
                  Robert Marshall & Karen Marshall; Zachary Poston; Jimmy Stevens as
                  Administrator of the Estate of Peggy Warden; Jennifer Racey

PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-M      5:19-cv-00705: Kyle Workman & Morgan Harris                                 X
 M



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       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-N      5:19-cv-00706: Dalia Lookingbill, Individually, ANF Minor R.T. & as
796-                                                                                    X
                  Administrator of the Estate of Minor E.G.
 N
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-O      5:19-cv-00714: Rosanne Solis & Joaquin Ramirez                        X
 O
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-P      5:19-cv-00715: Margaret McKenzie                                      X
 P
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-Q      5:19-cv-00805: Fred Curnow & Kathleen Curnow                          X
 Q
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-R      5:19-cv-00806: Juan Macias & Jennifer Macias                          X
 R
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-S      5:19-cv-00953: Kip Workman & Julie Workman                            X
 S
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-T      5:19-cv-00972: Chancie McMahan, Individually and ANF Minor R.W.;
796-                                                                                    X
                  Scott Holcombe
 T


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PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-U      5:19-cv-01300: David Colbath ANF Minor O.C.                              X
 U
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-V      5:19-cv-01301: Kris Workman & Colbey Workman ANF Minor E.W.              X
 V
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-W      5:19-cv-01318: John Porter Holcombe, Individually and as Administrator
796-                                                                                       X
                  of the Estate of Crystal Holcombe
 W
PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-X      5:19-cv-01481: Colbey Workman                                            X
 X
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-Y      5:20-cv-00109-XR: Robert Braden; Rebecca Metcalf Braden; Brenda
796-                                                                                       X
                  Moulton
 Y
       Plaintiffs’ Jurisdictional Evidence: Form 95s
PEX
       796-Z      5:20-cv-00368: John Porter Holcombe ANF Minors EJH & PJH & as
796-                                                                                       X
                  Administrator of the Estates of ERH, GLH & MGH
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PEX    Plaintiffs’ Jurisdictional Evidence: Form 95s
796-   796-AA     5:20-cv-00991: Jessica Moulton & William Lane                          X
AA
       SSS-003575-003609
PEX    2016 NICS Operations Report FINAL 5-3-2017 https://www.fbi.gov/file-
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797    repository/2016-nics-operations-report-final-5-3-2017.pdf

       SSS-003610
PEX
       Federal Denials https://www.fbi.gov/file-repository/federal_denials.pdf           X   X
798

PEX    Plaintiffs’ Key Documents
                                                                                         X
800

                                     GOVERNMENT’S TRIAL EXHIBITS

GEX    Excerpted Deposition Transcript of Emily Willis
                                                                                         X   X
 1
GEX    Excerpted Deposition Transcript of Candace Marlowe
                                                                                         X   X
 2
GEX    Excerpted Deposition Transcript of James K. Poorman
                                                                                         X   X
 3



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GEX   Excerpted Deposition Transcript of Robert M. Ford, Jr.
                                                                                        X   X
 4
GEX   Excerpted Deposition Transcript of Yonatan Holz
                                                                                        X   X
 5
      Video excerpt of Government’s Trial Deposition Testimony Designation [Yonatan
GEX
      Holz]                                                                             X   X
5-A

GEX   Excerpted Deposition Transcript of Vince Bustillo
                                                                                        X
 6
GEX   Excerpted Deposition Transcript of James F. Hoy
                                                                                        X   X
 7
      Video excerpt of Government’s Trial Deposition Testimony Designation [James
GEX
      Hoy]                                                                              X   X
7-A

GEX   Excerpted Deposition Transcript of Clinton Mills
                                                                                        X
 8
      Video excerpt of Government’s Trial Deposition Testimony Designation [Clinton
GEX
      Mills]                                                                            X   X
8-A




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GEX    Excerpted Deposition Transcript of Ryan Sablan
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 9
GEX    Excerpted Deposition Transcript of Lyle Bankhead
                                                                                           X   X
 10
       Video excerpt of Government’s Trial Deposition Testimony Designation [Lyle
GEX
       Bankhead]                                                                           X   X
10-A

GEX    Excerpted Deposition Transcript of Randall Taylor
                                                                                           X   X
 11
       Video excerpt of Government’s Trial Deposition Testimony Designation [Randall
GEX
       Taylor]                                                                             X   X
11-A

GEX    Excerpted Deposition Transcript of Nathan McLeod-Hughes
                                                                                           X
 12
GEX    Excerpted Deposition Transcript of Lt. Col. Robert Bearden
                                                                                           X
 13
       Video excerpt of Government’s Trial Deposition Testimony Designation [Col. Robert
GEX
       Bearden]                                                                            X   X
13-A




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GEX   Excerpted Deposition Transcript of Col. James Hudson
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 14
GEX   Excerpted Deposition Transcript of Col. Owen Tullos
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 15
GEX   Excerpted Deposition Transcript of Col. John Owen
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 16
GEX   Excerpted Deposition Transcript of Robert Spencer
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 17
GEX   Excerpted Deposition Transcript of Shelley Verdejo
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 18
GEX   Excerpted Deposition Transcript of Academy Witness P.D.
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 19
GEX   Excerpted Deposition Transcript of Academy Witness N.M.
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GEX   Excerpted Deposition Transcript of Academy Witness W.F.
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 21
GEX   Excerpted Deposition Transcript of Academy Witness R.C.
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 22



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GEX   Excerpted Deposition Transcript of Academy Witness K.R.
                                                                                       X   X
 23
GEX   Answers to Deposition by Written Questions by Academy Witness P.D.
                                                                                       X   X
 24
      USA00025540-USA00025567
GEX
      Expert Report of Dr. Bursztajn                                                   X   X
 25
      USA32729-32734
GEX
      ATF NICS Ref Applc Field Ofc Ref Report - Seth 1.4.04                            X   X
 26
      USA00025609-USA00025638
GEX
      Expert Report of James Alan Fox, Ph.D.                                           X   X
 27
      USA00025679-USA00025694
GEX
      Expert report of Dr. Donohue                                                     X   X
 28
      USA00025695
GEX
      Donohue List of Documents Considered                                             X   X
 29
      USA00025725-USA00025733
GEX
      Barborini Report                                                                 X   X
 30


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      USA00025740-USA00025751
GEX
      Expert Report Breyer                                                              X   X
 31

GEX   18 U.S.C. § 921                                                                   X   X
 32
GEX   18 U.S.C. § 922                                                                   X   X
 3
GEX   18 U.S.C. § 924                                                                   X   X
 34
GEX   18 U.S.C. § 3571                                                                  X   X
 35
GEX   28 U.S.C. § 25.6                                                                  X   X
 36
GEX   28 U.S.C. § 534                                                                   X   X
 37
GEX   34 U.S.C. § 40901                                                                 X   X
 38
GEX   42 U.S.C. 10601                                                                   X   X
 39


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GEX   34 U.S.C. § 41303                                                                    X   X
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GEX   27 C.F.R. § 178                                                                      X   X
 41
GEX   27 C.F.R. § 478.11                                                                   X   X
 42
GEX   27 C.F.R. § 478.39                                                                   X   X
 43
GEX   27 C.F.R. § 53.61                                                                    X   X
 44
GEX   28 C.F.R. § 20.30                                                                    X   X
 45
GEX   32 C.F.R. § 97                                                                       X   X
 46
GEX   61 F.R. 47096 (Sept 6, 1996)                                                         X   X
 47
GEX   COLO. REV. STAT. §§ 18-12-301, -302                                                  X   X
 48



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GEX   N.M. STAT. ANN. § 43-1-11                                                         X   X
 49
GEX   42 U.S. Code §1320d-6                                                             X   X
 50
GEX   42 U.S. Code §1320d-9(b)(3)                                                       X   X
 51
GEX   Danielle Testimony against Brassfield Guadalupe Co. 4-15-2019                         X
 52
GEX   Deposition Transcript of Danielle Smith with exhibits 1 through 10                    X
 53
GEX   Deposition Transcript of Michelle Shields with exhibits 1 through 12                  X
 54
GEX   Deposition Transcript of Michael Kelley dated June 23, 2020                           X
 55
      Deposition Transcript of Michael Kelley dated January 6, 2021 with exhibits 1
GEX
      through 15                                                                            X
 56




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      Deposition Transcript of Michael Kelley dated January 13, 2021 with exhibits 16
GEX
      through 19                                                                            X
 57

GEX   Deposition Transcript of Rebecca Kelley with exhibit 1                                X
 58
GEX   Deposition Transcript of Kimberly Del Greco exhibits 1 through 13                     X
 59
GEX   Deposition Transcript of Jon Rymer with exhibits                                      X
 60
GEX   Deposition Transcript of Terry Snyder with exhibits 1 through 29                      X
 61
GEX   Deposition Transcript of Daniel Webster with exhibits 1 through 19                    X
 62
GEX   Deposition Transcript of Col. Larry Youngner with exhibits 1 through 5                X
 63
GEX   Deposition Transcript of Jeffrey Metzner with exhibits 1 through 6                    X
 64




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      California Department Of Justice Bureau Of Firearms Prohibiting Categories
GEX
      ps://www.greghillassociates.com/docs/ca_doj_firearms_prohibiting_categories.pdf        X   X
 65
      President Trump is talking about red-flag laws. Texas lawmakers have blocked those
GEX   bills in the past. https://www.texastribune.org/2019/08/07/trump-considers-red-flag-
                                                                                             X   X
 66   laws-texas-lawmakers-have-blocked/

      Oklahoma Passed the Country’s First ‘Anti-Red Flag’ Gun Law
      https://www.vice.com/en_us/article/wxq8zq/oklahoma-passed-the-countrys-first-anti-
GEX   red-flag-gun-law?utm_source=The+Trace+mailing+list&utm_campaign=209dc48db0-
                                                                                             X   X
 67   EMAIL_CAMPAIGN_2019_08_29_06_04_COPY_01&utm_medium=email&utm_term
      =0_f76c3ff31c-209dc48db0-112411265

      Second Amendment sanctuary
GEX
      https://en.wikipedia.org/wiki/Second_Amendment_sanctuary#cite_note-741                 X   X
 68

GEX   Gvpedia https://www.gvpedia.org                                                        X   X
 69
      Straw Buyers' Of Guns Break The Law — And Often Get Away With It
GEX   https://www.npr.org/2015/12/09/459053141/straw-buyers-of-guns-break-the-law-and-
                                                                                             X   X
 70   often-get-away-with-it




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      Lying to buy a gun? Don’t worry about the feds.
GEX
      https://www.washingtonpost.com/politics/2018/09/11/lying-buy-gun-fear-not-feds/         X   X
 71
      Man who provided serial killer Todd Kohlhepp with dozens of guns sentenced to
      federal prison https://www.foxcarolina.com/investigations/man-who-provided-serial-
GEX
      killer-todd-kohlhepp-with-dozens-of-guns-sentenced-to-federal-                          X   X
 72
      prison/article_1f8e957e-ba9e-11e8-a525-c73361747be8.html

GEX   San Antonio Gun Show https://10times.com/sanantonio-gun-show                            X   X
 73
      Despite politics, ATF makes some gun show arrests
GEX   https://www.chron.com/news/houston-texas/texas/article/Despite-politics-ATF-makes-
                                                                                              X   X
 74   some-gun-show-arrests-4360595.php

      ‘I was scared to death of him’: How red flags were raised over the Nova Scotia killer
GEX   before April’s massacre https://www.theglobeandmail.com/canada/article-i-was-
                                                                                              X   X
 75   scared-to-death-of-him-how-the-nova-scotia-gunman-raised-red/

      Norway massacre suspect Anders Behring Breivik says he bought part of his arsenal
GEX   in the U.S. https://www.nydailynews.com/news/world/norway-massacre-suspect-
                                                                                              X   X
 76   anders-behring-breivik-bought-part-arsenal-u-s-article-1.161973




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      Ghost Guns: The build-it-yourself firearms that skirt most federal gun laws and are
GEX   virtually untraceable https://www.cbsnews.com/news/ghost-guns-untraceable-
                                                                                            X   X
 77   weapons-criminal-cases-60-minutes-2020-05-10/

      El Paso shooting suspect said he ordered his AK-47 and ammo from overseas
GEX
      https://www.texastribune.org/2019/08/28/el-paso-shooting-gun-romania                  X   X
 78
      Authorities Suspect Man of Making and Selling Gun Used in Texas Shooting
GEX   https://www.wsj.com/articles/authorities-suspect-man-of-making-and-selling-gun-
                                                                                            X   X
 79   used-in-texas-shooting-11567639127

      Odessa shooter failed gun background check, Gov. Greg Abbott says
GEX   https://www.texastribune.org/2019/09/02/odessa-shooter-failed-gun-background-
                                                                                            X   X
 80   check-texas-gov-greg-abbott-says

      Mass shooting is top story of 2019 https://www.mrt.com/news/article/Mass-shooting-
GEX
      is-top-story-of-2019-14940111.php                                                     X   X
 81
      How US gun control compares to the rest of the world
GEX   http://theconversation.com/how-us-gun-control-compares-to-the-rest-of-the-world-
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 82   43590




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      2 dead, 4 wounded in shooting at Santa Clarita, Calif., high school
GEX   https://www.asumag.com/safety-security/article/20857480/2-dead-4-wounded-in-
                                                                                            X   X
 83   shooting-at-santa-clarita-calif-high-school

      Officials Confirm Santa Clarita Shooter Used A Ghost Gun
GEX   https://laist.com/2019/11/20/feds_investigating_whether_saugus_santa_clarita_shoot
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 84   er_used_ghost_gun.php

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      https://news4sanantonio.com/news/trouble-shooters/how-so-called-ghost-guns-cut-off-
GEX   investigative-leads-when-used-in
                                                                                            X   X
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GEX   Disorders (5th Ed.) (DSM-5). Washington, DC: American Psychiatric Publishing,
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GEX   JM, Kendall PC, eds. The APA Handbook of Psychopathology. Washington, DC:
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GEX
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GEX
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 90
      interpretation of subjective data 1983

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GEX
      Coletsos IC, Bursztajn HJ The 5-Minute Clinical Consult Suicide 2011-2020                  X   X
 91
      Feinstein R, Plutchik R. Violence and suicide risk assessment in the psychiatric
GEX
      emergency room. Comprehensive Psychiatry. 1990; 31:337-343.                                X   X
 92
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GEX
      Mayors Against Illegal Guns Felon Seeks Firearm, No Strings Attached 2013                  X   X
 93




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GEX
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      of dangerousness: competence assessment in patient care and liability prevention     X   X
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GEX
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GEX
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101
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GEX
      of firearms design, sale, and carrying on fatal mass shootings in the United States   X   X
102
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GEX   Wulsin LR, et al. Am J Psychiatry Unexpected clinical features of the Tarasoff
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GEX
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104




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GEX
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GEX
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GEX   of Mandatory Handgun Purchase Delays on Homicide and Suicide,” Economic
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GEX
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108
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      Violence, Volume 4 Predicting Violent Behavior and Classifying Violent Offenders       X   X
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GEX
      California State University, Fresno.                                                   X   X
110



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      MacDonald, J. M. (1971). Homicidal threats. Springfield, IL: Charles C. Thomas
GEX
      Publishers.                                                                      X   X
111
      Academy001072-Academy001077
GEX
      Academy - FSC Roadmap                                                            X   X
112
      Academy002292-Academy002297
GEX
      Academy - New Store Training - Firearms Guide                                    X   X
113
      Academy004666-Academy004689
GEX
      Academy Acknowledgment of Federal Firearms Regulations                           X   X
114
      TXRANGERS00000126
GEX
      911 Call 11:17:46 am                                                             X   X
115
      TXRANGERS00000141
GEX
      911 Call 11:35:30 am                                                             X   X
116
      TXRANGERS00000909-TXRANGERS00000911
GEX   Affidavit of FBI Special Agent Jamie Burshur in Support of Facebook Search
                                                                                       X   X
117   Warrant




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      TXRANGERS00006158-TXRANGERS00006167
GEX   Article - Texas church gunman threatened mother-in-law who attended church with
                                                                                        X   X
118   text messages.pdf

      TXRANGERS00006168-TXRANGERS00006174
GEX
      Article - What we know about Texas church shooter Devin Patrick Kelley.pdf        X   X
119
      TXRANGERS00006175-TXRANGERS00006182
GEX
      Article - Sutherland Springs church shooting - What we know.pdf                   X   X
120
      TXRANGERS00006183-TXRANGERS00006191
GEX
      Article - Texas church shooting victims honored, funeral held.pdf                 X   X
121
      TXRANGERS00006203-TXRANGERS00006215
GEX
      Wikipedia – Sutherland Springs church shooting.pdf                                X   X
122
      TXRANGERS00006232-TXRANGERS00006279
GEX
      Financial Crimes Enforcement Network Documents                                    X   X
123
      TXRANGERS00006956-TXRANGERS00006961
GEX
      FBI Report of Grand Jury Subpoena                                                 X
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      TXRANGERS00006895-TXRANGERS00006906
GEX
      Social Work Foster Visit Narrative - 06/22/2011                                   X
125
      TXRANGERS00006907-TXRANGERS00006923
GEX
      Social Work Case Narrative Tessa Kelley - 06/20/2011                              X
126
      TXRANGERS00006924-TXRANGERS00006943
GEX
      Social Work Documents                                                             X
127
      TXRANGERS00006944-TXRANGERS00006947
GEX
      Kelley-JML case notes 2012-2013.pdf                                               X
128
      TXRANGERS00006948-TXRANGERS00006954
GEX
      Kelley- JML investigation notes.pdf                                               X
129
      TXRANGERS00006955
GEX
      Kelley- JML legal timeline.pdf                                                    X
130
      TXRANGERS00006962-TXRANGERS00006963
GEX
      Email dated 12/4/2017, From Hardy, Kathleen, Re: Request for Assistance           X   X
131




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      TXRANGERS00006964
GEX
      Logo – Texas                                                                     X
132
      TXRANGERS00006965
GEX
      Kelley- JML legal timeline attachment                                            X
133
      TXRANGERS00006966-TXRANGERS00006972
GEX
      Kelley- JML investigation notes                                                  X
134
      TXRANGERS00006973-TXRANGERS00006978
GEX
      CPS Investigation Study                                                          X
135
      TXRANGERS00006979-TXRANGERS00006982
GEX
      Kelley- JML case notes 2012-2013                                                 X
136
      TXRANGERS00006983-TXRANGERS00007002
GEX
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137
      TXRANGERS00007003-TXRANGERS00007019
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       TXRANGERS00007020-TXRANGERS00007031
GEX
       Social Work Foster Visit Narrative - 06/22/2011                                   X
139
       TXRANGERS00007032-TXRANGERS00007038
GEX
       In the Matter of JML, Affidavit for Ex Parte Custody Order                        X
140
       TXRANGERS00007920
GEX
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141
       TXRANGERS00013183-TXRANGERS00013187
GEX
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142
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143-   GEX 143-A TXRANGERS00016636; TR Video at church neighbor                          X   X
 A
GEX    Scene Witness Videos
143-   GEX 143-B TXRANGERS00016639; TR Video Interview of church neighbors               X   X
 B
       Scene Witness Videos
GEX
       GEX 143-C TXRANGERS00016640; TR Video of witnesses describing D. Kelley in
143-                                                                                     X   X
                 body armor
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GEX    Scene Witness Videos
143-   GEX 143-D TXRANGERS00016641; TR Video of witnesses in front of church           X   X
 D
       Scene Witness Videos
GEX
       GEX 143-E TXRANGERS00016642; TR Video of witnesses describing events of
143-                                                                                   X   X
                 shooting outside church
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       Scene Witness Videos
GEX
       GEX 143-F TXRANGERS00016643; TR Video of witnesses describing events
143-                                                                                   X   X
                 continued
 F
       Scene Witness Videos
GEX
       GEX 143-G TXRANGERS00016644; TR Video of witnesses describing Devin Kelley
143-                                                                                   X   X
                 entering church
 G
       Scene Witness Videos
GEX
       GEX 143-H TXRANGERS00016645; TR Video of witness describing victims fleeing
143-                                                                                   X   X
                 the church
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       Scene Witness Videos
GEX
       GEX 143-I TXRANGERS00016646; TR Video of witness describing what he was
143-                                                                                   X   X
                 doing at the time of the shooting
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       Scene Witness Videos
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       GEX 143-J TXRANGERS00016647; TR Video of witness describing Devin Kelley
143-                                                                                   X   X
                 exiting the church
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       Scene Witness Videos
GEX
       GEX 143-K TXRANGERS00016648; TR Video of witness describing Devin Kelley
143-                                                                                   X   X
                 getting into his car
 K
       Scene Witness Videos
GEX
       GEX 143-L TXRANGERS00016649; TR Video of witness describing Devin Kelley
143-                                                                                   X   X
                 driving away from church
 L
       Scene Witness Videos
GEX
       GEX 143-M TXRANGERS00016650; TR Video of witness warning people to stay
143-                                                                                   X   X
                 away from church
 M
       Scene Witness Videos
GEX
       GEX 143-N TXRANGERS00016651; TR Video of witness warning people to stay
143-                                                                                   X   X
                 away from church continued
 N
GEX    Scene Witness Videos
143-   GEX 143-O TXRANGERS00016652; TR Video of witness describe helping victims       X   X
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       Scene Witness Videos
GEX
       GEX 143-P TXRANGERS00016653; TR Video of witness describe helping victims
143-                                                                                    X   X
                 continued
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GEX    Scene Witness Videos
143-   GEX 143-Q TXRANGERS00016654; TR Video of witness discusses recording             X   X
 Q
GEX    Scene Witness Videos
143-   GEX 143-R TXRANGERS00016655; TR Video completing witness interview               X   X
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       TXRANGERS00016656
GEX
       Recording of Kyle Workman                                                        X   X
144
       TXRANGERS00016905
GEX
       Audio Recording of Stephen Willeford                                             X   X
145
       TXRANGERS00048173-TXRANGERS00048184
GEX
       Danielle Shields 2018 Interview - SA Express News.docx                           X   X
146
       TXRANGERS00077466
GEX
       Retrieved Items from Kelley's Car.pdf                                            X
147




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      DDF-Protection Order.tif                                                         X   X
148
      USA00025485-USA00025498
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      Kinnunen Criminal History Record Information 1-27-2020.pdf                       X   X
149
      USA00025499-USA00025517
GEX
      Kinnunen NTN 0LB08PY Case History.pdf                                            X   X
150
      USA00025518-USA00025526
GEX
      Kinnunen NTN 1017G4JZT Case History State Submitted.pdf                          X   X
151
      USA00025527-USA00025539
GEX
      Kinnunen NTN 1D0HXLZ Case History.pdf                                            X   X
152
      USA00032453-32467
GEX
      Harold J. Bursztajn, MD’s Supplemental Report                                    X   X
153
      USA00032468-32470
GEX
      Stephen J. Barborini’s Supplemental Report                                       X   X
154




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      USA00032471-32477
GEX
      James A. Fox’s Supplemental Report                                               X   X
155
      USA32478
GEX
      Documents Considered by Donohue                                                  X   X
156
      19-706-002042-002043
GEX
      Order Ratifying Confidential Settlement [EG]                                     X   X
157
      19-706-002044-002045
GEX
      Order Ratifying Confidential Settlement [RT]                                     X   X
158
      19-706-002046-002046
GEX
      Order Approving Minor’s Compromise [RT]                                          X   X
159
      19-706-002047-002053
GEX
      CONFIDENTIAL Settlement Agreement and Release [D. Lookingbill]                   X   X
160
      19-706-002054-002060
GEX
      CONFIDENTIAL Settlement Agreement and Release [EG]                               X   X
161




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      19-706-002061-002069
GEX
      CONFIDENTIAL Settlement Agreement and Release [RT]                               X   X
162
      DSG 1
GEX
      Denied/Delay Log Process - informative document                                  X   X
163
      DSG 2-3
GEX
      Firearms Acquisitions - informative document                                     X   X
164
      DSG 4
GEX
      Firearms Receiving/Check-In Process - informative document                       X   X
165
      DSG 5-6
GEX
      Firearms Disposition - informative document                                      X   X
166
      DSG 7-8
GEX
      ATF 4473 - informative document                                                  X   X
167
      DSG 9
GEX
      4473 Review for Compliance - informative document                                X   X
168




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      DSG 10
GEX
      Denied Transactions - informative document                                        X   X
169
      DSG 11
GEX
      Gun Stockroom - informative document                                              X   X
170
      DSG 12-31
GEX
      Dick’s Sporting Goods/Field & Stream, GLS User Manual - informative document      X   X
171
      DSG 32-94
GEX
      Completing Form 4473 - informative document                                       X   X
172
      DSG 95-117
GEX
      Straw Purchase - informative document                                             X   X
173
      DSG 118-121
GEX
      Instructional videos on identifying straw purchases - informative documents       X   X
174
      DSG 122
GEX
      Don’t lie for the other guy - informative document                                X   X
175




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      DSG 123
GEX
      Accuracy is Everything - informative document                                      X   X
176
      DSG 124-125
GEX
      Records and Info Mgmt Policy - informative document, Eff. 1/30/2012                X   X
177
      DSG 126-128
GEX
      Records and Info Mgmt Policy - informative document, Eff. 1/30/2012                X   X
178
      DSG 129
GEX
      Record Retention periods for Dick’s sporting goods - informative document          X   X
179
      DSG 130
GEX
      Corporate Records Retention Schedule - informative document                        X   X
180
      DSG 131-132
GEX   Records and Info Mgmt Policy - informative document, Version: 1/30/2020; updated
                                                                                         X   X
181   12/18/2014

      DSG 133
GEX
      Store Records - Retention Guidelines - informative document                        X   X
182




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      DSG 134
GEX
      Record retention and destruction policies - informative document                     X   X
183
      DSG 135-140
GEX
      Records Retention and Info Mgmt (RIM) SOP                                            X   X
184
      DSG 141-150
GEX
      Records and Info Mgmt - informative document                                         X   X
185
      DSGL 1-2
      Letter to DOJ, Paul Stern from DICK’S Partner Stephanie Yonekura, Subj:
GEX
      Production of Records in Response to Federal Grand Jury Subpoena of DICK’S           X   X
186
      Records

      DGL 3-6
      Declaration of Kevin Dodson as Custodian of Records in Response to Subpoena to
GEX
      Produce Documents, Info, or Objects or to Permit Inspection of Premises in a Civil   X   X
187
      Action on Third-Party Witness DICK’S Sporting Goods

      USA32893
GEX
      Harold Bursztajn’s Testimony List                                                    X   X
188




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      USA32813-32818
GEX   Avoiding Ipse Dixit Mislabeling - Post-Daubert Approaches to Expert Clinical
                                                                                           X   X
189   Opinions

      USA32894-32902
GEX
      Magical Thinking - Suicide & Malpractice Litigation                                  X   X
190
      USA32903-32915
GEX   Subjective Data & Suicide Assessment in the Light of Recent Legal Developments
                                                                                           X   X
191   (Part I)

      USA33016-33055
GEX   Public Mass Shootings in the USA - Selected Implications for Federal Public Health
                                                                                           X   X
192   & Safety Policy

      USA33136-33187
GEX
      The School Shooter - A Threat Assessment Perspective                                 X   X
193
      USA33188-33197
GEX
      Threats to Kill - A Follow-Up Study                                                  X   X
194




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      USA33198-33200
GEX
      Domestic Violence is a Tragedy. It’s Not a Predicator of Mass Murder             X   X
195
      USA33201-33227
GEX
      A Multivariate Comparison of Family, Felony & Public Mass Murders in the US      X   X
196
      USA33228-33254; USA33531-33539
GEX
      Firearm Acquisition Without Background Checks                                    X   X
197
      USA33255-33278
GEX
      Texas Gun Shows - 2020 List of Gun Shows in Texas                                X   X
198
      USA33279-33284
GEX
      An Examination of Thwarted Mass Homicide Plots & Threateners                     X   X
199
      USA33285-33299
GEX
      Active Shooter Incidents in the USA (2019)                                       X   X
200
      USA33300-33428
GEX   Making Prevention a Reality - Identifying, Assessing & Managing the Threat of
                                                                                       X   X
201   Targeted Attacks




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      USA33518-33530
GEX
      Deadliest Mass Shootings are Often Preceded by Violence at Home                    X   X
202
      USA33540-33569
GEX   A Study of the Pre-Attack Behaviors of Active Shooters in the USA Between 2000 &
                                                                                         X   X
203   2013

      USA33570-33583
GEX   The Relation Between State Gun Laws & the Incidence & Severity of Mass Public
                                                                                         X   X
204   Shootings in the USA (1976-2018)

      USA32530-32536
GEX   Article: California’s comprehensive background check and misdemeanor violence
                                                                                         X   X
205   prohibition policies and firearm mortality

      USA32537-32542
GEX   Article: Association Between Connecticut’s Permit-to-Purchase Handgun Law and
                                                                                         X   X
206   Homicides

      USA32543-32550
GEX
      Article: Association between Firearm Laws and Homicide in Urban Counties           X   X
207




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      USA32551-32554
GEX   Article: CORRECTION to: Association between Firearm Laws and Homicide in
                                                                                        X   X
208   Urban Counties

      USA32555-32563
GEX   Article: Eval Missouri’s Handgun Purchaser Law: A Bracketing Method for
                                                                                        X   X
209   Addressing Concerns about History Interacting with Group

      USA32597-32601
GEX   Article: Prior Misdemeanor Convictions as a Risk Factor for Later Violent and
                                                                                        X   X
210   Firearm-Related Criminal Activity Among Authorized Purchasers of Handguns

      USA32602-32603
GEX
      Working Paper: Not All School Shootings are the Same and the Differences Matter   X   X
211
      USA32604-32607
GEX
      Article: Private-Party Gun Sales, Regulation, and Public Safety                   X   X
212
      USA32608-32615
GEX   Article: The Impact of State Firearm Laws on Homicide and Suicide Deaths in the
                                                                                        X   X
213   USA, 1991-2016: A Panel Study




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      USA32616-32635
GEX   Article: Source and Use of Firearms Involved in Crimes: Survey of Prison Inmates,
                                                                                           X   X
214   2016

      USA32636-32677
GEX
      American Gov’t Article: Gun Shows: Brady Checks and Crime Gun Traces Jan. 1999       X   X
215
      USA32678-32719
GEX   Research Article: Evidence concerning the regulation of firearms design, sale, and
                                                                                           X   X
216   carrying on fatal mass shootings in the UNITED States

      NPR Website: In Texas and Beyond, Mass Shootings Have Roots in
GEX
      Domestic Violence                                                                    X   X
217
      Online Pamphlet - Point, Click, Fire: An Investigation of Illegal Online Gun
GEX
      Sales                                                                                X   X
218
      Article - Buying a handgun for someone else: Firearm dealer willingness to
GEX
      sell                                                                                 X   X
219
      Article - Evidence concerning the regulations of firearms design, sale, and
GEX
      carrying on fatal mass shootings in the US                                           X   X
220


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GEX   Dr. Webster testified at a Colorado case trial about 10.6.14                     X   X
221
      Article – Gun shows Across a Multistate American Gun Market:
GEX
      Observational Evidence of the Effects of Regulatory Policies                     X   X
222
      Academy004681-4682
GEX
      Academy Acknowledgment of Federal Firearm Regulations dated 11/14/2015           X   X
223
      Academy000013-131
GEX
      Academy Procedural Manual                                                        X   X
224
      Academy000132-35
GEX
      Academy Interstate Long Gun/MSR Purchase Map                                     X   X
225
      Academy000322-398
GEX
      ALU Firearm Compliance                                                           X   X
226
      Academy000438-467
GEX
      Denial and Non-Denial Scenarios Module                                           X   X
227




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      Academy000479-524
GEX
      “fast 4473 Team Member Training”                                                 X   X
228
      Academy000635-667
GEX
      FSC ATF & Academy Forms                                                          X   X
229
      Academy000736-798
GEX
      FSC No Sales, Store Level Denials, and Straw Purchase                            X   X
230
      Academy000856-977
GEX
      FSC “Required Presale Documentation” Module                                      X   X
231
      Academy000978-1030
GEX
      FSC “Roles & Responsibilities”                                                   X   X
232
      Academy0002292-2297
GEX
      Academy New Store Training – Firearms Guide                                      X   X
233
      Academy0002422
GEX
      Academy Firearm Compliance Policy (Dated December 15, 2016)                      X   X
234




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      Academy0002875
GEX   Email from ATF (Daniel E. Mueller) Special Agent to Mylinda Jones (Academy) on
                                                                                            X   X
235   6/28/2017

      Academy0003548-3716
GEX
      Firearms Procedure Manual                                                             X   X
236
      Academy0004543-4547
GEX
      Important Notice to all Federal Firearms Licensees                                    X   X
237
      Academy0004726
GEX
      List of guns acquired from Academy Stores in Texas by out-of-state buyers             X   X
238
      Academy0004894-4909
GEX
      Transaction Receipts involving Devin Kelley purchases from 8/9/2016 until 11/3/2017   X   X
239

GEX   Government Key Documents                                                              X   X
240
GEX   Article 128, UCMJ (2012)                                                              X   X
241




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      Rules for Court Martial 302 (2012)
GEX
      (Depo Ref: Youngner Ex. 5)                                                      X   X
242

GEX   Rules for Court Martial 304 (2012)                                              X   X
243
GEX   Rules for Court Martial 305 (2012)                                              X   X
244




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Respectfully Submitted,

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Civil Division
United States Department of Justice
Counsel for Defendant
UNITED STATES OF AMERICA




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                      CERTIFICATE OF SERVICE

       I certify that the foregoing was filed through the Court’s CM/ECF system on
April 6, 2021, and the following counsel for the United States have received notice
and been served through that system.


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                                       Jamal K. Alsaffar

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Assistant United States Attorney




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